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                EXHIBIT A
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                                                 SUBLEASE

              SUBLEASE, dated as of June 4, 2007 between PRADA USA CORP., a Delaware
corporation having an office at 610 West 52 11d Street, New York, New York 1001 9 ("Sublessor"),
and QS RETAIL, INC., a Delaware corporation, having an office at 15202 Graham Street,
Huntington Beach, Califomia 92649 ("Sublessee").



               WHEREAS, by Lease ("Master Lease"), dated as of June 10, 2004, between Red
Sail Real Estate Los Angeles Inc. ("Landlord"), as landlord, and Sublessor, as tenant, Landlord
leased to Sublessor, in accordance with the terms therein, the land and building known as and
located at 8025 Melrose Avenue, Los Angeles, California, as more particularly described therein
(the "Premises") in accordance with the terms of the Master Lease; and

              WHEREAS, Sublessor desires to sublet to Sublessee, and Sublessee desires to
hire from Sublessor, the Premises upon the terms and conditions hereinafter set forth;

              NOW, THEREFORE, in consideration of the mutual covenants hereinafter
provided, Sublessor and Sublcssee hereby agree as follows:

                     l.      Demised Premises.

              1.1     Sublessor hereby sublets to Sublessee, and Sublessee hereby sublets and
hires from Sublcssor, the Premises, for the sublease term hereinafter stated and for the Fixed
Rent and Additional Rent (both as hereinafter defined) hereinafter reserved , subject to all of the
terms and provisions hereinafter provided or incorporated in this Sublease by reference.

                1.2    Sublessee agrees to accept the Premises on the Commencement Date (as
hereinafter defined) in its condition on the date thereof; provided, however, that on the
Commencement Date (i) all HVAC, plumbing and electrical systems and equipment in the
Premises shall be in working order, and (ii) all of Sublessor's furniture, trade fixtures and
equipment shall have been removed, except for those items described on Exhibit C attached
hereto, title to which shall be transferred to Sublessee in their then "as is" condition, for no
additional consideration. Sublessor has not made and does not make any representations or
warranties as to the physical condition of the Premises, or any other matter affecting or relating
to the Premises, except as set forth in Section 18. 7 hereof.

                1.3      Any and all alterations to, work to be performed in or materials to be
supp lied for the Prel'nises shall be made, performed and supplied at the sole cost and expense of
Sublessee and in conformance with all or the terms a11cl provisions of this Sublease and the
Master Lease.

                     2.    Term.


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               2.1    The term ("Te1m") of this Sublease shall commence on the date (the
"Commencement Date") on which Sublessor shall have obtained Landlord's written consent to
th is Sublease in accordance with the provisions of Article 15 and a copy of such consent has
been delivered to Sublessee and Sublessor shall have deli vered possession of the Premises to
Sub lessee in the condition required herein, and shall expire on June 8, 20 19 (the "Expiration
Date").

               2.2    If the term of the Master Lease is terminated for any reason prior to the
Expiration Date, this Sub lease shall. thereupon be terminated ipso facto without any liabili ty of
Sublcssor to Sublessee by reason of such early termination; provided, however, that (unless
caused by the act or omission of Sublessee) Sublessor shall not perform any act or fail to perform
any act which shall result in the breach or default of any of the covenants, agreements, terms,
provisions or conditions of the Master Lease on the part of Sub lessor as the "Tenant" thereunder,
and if the Master Lease or Sublessee's right of possession of the Premises is terminated prior to
the Expiration Date as a result of Sublessor's breach or default of the Master Lease (and same
was not caused by Sublessee's actions or inactions), or if the Master Lease is terminated by
Landlord pursuant to Section 10.1 of the Master Lease, Sublessee shall have such rights and
remedies against Sublessor for such breach or default as may be available at law or in equity,
including, without limitation, an action for damages or injunctive relief. The foregoing
provisions shall survive the termination of this Sublease. Except as otherwise expressly provided
in this Sublease with respect to those obligations of Sublessee and Sublessor which by thei r
nature or under the circumstances can only be, or under the provisions of thi s Sublease may be,
performed after the termination of this Sublease, the Term and estate granted hereby shall end at
noon on the date of termination of this Sublease as if such date were the Expiration Date, and
neither party shall have any further obligation or liability to the other after such termination.
Notwithstanding the fo regoi ng, any li ability of Sublessee to make any payment under this
Sublease, whether of Fixed Rent, Addition.al Rent or otherwise, which shall have accrued prior to
the expiration or sooner terminati9.11! of j~s Sublease, shall survive the expiration or sooner
termination of this Sublease.         ·

                2.3    Sublessor shall use commercially reasonable efforts to obtain Landlord's
consent as described in Article 15 (although nothing herein shall obligate Sublessor to pay any
foes or other consideration other than Landlord's reasonable administrative expenses and
attorneys' fees) and to deliver possession of the Premises on the Commencement Date. If
Sub lessor shall be unable to deliver possession of the Premises on the Commencement Date, and
provided Sublessee is not responsible for such inability to give possession, Sublessee waives the
right to recover any damages which may result from Sublessor's failure to so del iver possession
of the Premises to Sublessee, no such failure to deliver possession on the Commencement Date
shall in any way affect the validity of this Sublease or the obli gations of Sublessee hereunder or
give rise to any claim for damages by Sub lessee or claim for rescission of this Sublease, nor shall
the same in any way be construed to extend the Term. Notwithstanding anything to the contrary
herein, in the event the Commencement Date shall have not occurred within sixty (60) days of
the date hereof, despite Sublessor's commercially reasonable effo11s to obtain Landlord 's consent
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as provided herein, then either party may seek to terminate this Sublease by giving the other
party five (5) business days' written notice, and if the Commencement Date shall have failed to
have occurred on or prior to such fifth (5 111) business day, this Sublease shall terminate and be of
no further force and effect.

                    3.       Rent.

                    3.1      The rent ("Rent") reserved for the Term shall consist of the following:

          (a)       annual fixed rent ("Fixed Rent") as follows:

                    (i)        at the rate of Five Hundred Thi11y Two Thousand Eight Hundred and
                               001100 Dollars ($532,800.00) per annum for the first Lease Year (as
                               hereinafter defined); and

                    (ii)       commencing on the first day of the second (2nd) Lease Year, and on the
                               first day of each and every Lease Year thereafter, the Fixed Rent shall be
                               increased by the lesser of (A) four percent (4.0%) of the Fixed Rent
                               payable immediately prior thereto, and (B) the product of (I) two and one-
                               half (2.5), and (II) the CPI Increase (as hereinafter defined).

          (b)       As used herein, the following terms shall have the following meanings:

                    (i)        The "CPI Increase" shall mean the percentage increase from the Base
                               Index to the Current Index of the Consumer Price Index (as such terms arc
                               hereinafter defined).

                    (ii)       The "Base Index" shall initially refer to the Consumer Price Index
                               published for the month immediately preceding the Rent Commencement
                               Date (as hereinafter defined), and following each increase in the Fixed
                               Rent pursuant to Section 3. 1(a)(ii) above, the Base Index shall refer to the
                               Consumer Price Index published for the subsequent April.

                    (iii)      The "Current Index" shall initially refer to the Consumer Price Index
                               published for the month immediately preceding the second (2nd) Lease
                               Year, and following each increase in the Fixed Rent pursuant to Section
                               3. l (a)(ii) above, the. Current Index shall refer to the Consumer Price Index
                               published forJ~.e1 ,~J.i~sequent April .

                    (iv)       The "Consumer Price lndex" shall mean the Consumer Price Index for All
                               Urban Consumers published by the Bureau of Labor Statistics of the
                               United States Department of Labor, Los Angeles-Riverside-Orange
                               County, CA, All [tems (1982-84=100), or any successor index thereto,
                               appropriately adjusted. In the event that the Consumer Price Index is
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                                converted to a different standard reference base or otherwise revised, the
                                detennination of adjustments provided for herein shall be made with the
                                use of such conversion factor, formula or table for converting the
                                Consumer Price Index as may be published by the Bureau of Labor
                                Statistics or, if said Bureau shall not publish the same, then with the use of
                                such conversion factor, formula or table as may be published by
                                Prentice-Hall, Inc. , or any other nationally recognized publisher of similar
                                statistical i11formation.    If the Consumer Price Index ceases lo be
                                published, and there is no successor thereto, such other index as Landlord
                                shall reasonably select shall be substituted for the Consumer Price Index.

                     (v)        The first "Lease Year" shall mean the period commencing on the Rent
                                Con1mcncement Date and ending on the last clay of the month which
                                precedes the twelve (12) month anniversary of the Rent Commencement
                                Date. Each subsequent "Lease Year" shall mean the twelve (12) month
                                period thereafter, except that the final "Lease Year" shall end on the
                                E xpiration Date or sooner le1mination of the Term.

                     (vi)       The "Rent Commencement Date" shall mean August 1, 2007; provided,
                                however, if the Commencement Date fails to occur on or prior to June 15,
                                2007, the Rent Commencement Date shall be extended by one (1) day for
                                each day that elapses following June 15, 2007 until occurrence of the
                                Commencement Dale.

        (c)     additional rent ("Additional Rent") commencing on the Rent Commencement
Date in an amount equal to the sum of (A) any and all sums of money ("Underlying Additional
Rent") (other than annual Fixed Rent) which is or may become payable by Sublessor to Landlord
or other parties under the Master Lease, and (B) any and all other sums payable by Sublessee to
Sublessor hereunder. Additional Rent under tbis subsection shall be payab le by Sublessee on the
date ten (10) days before the date on which the Underlying Additional Rent is payab le to
Landlord under the Master Lease (but in no event before ten (10) days after Sublessee receives
the applicable statement or invoice for such Additional Rent; provided, however, that the
foregoing shall not apply to regularly recurring payments of Additional Rent). All other
Additional Rent shall be payable upon demand. Sublessor shall have the same remedies with
respect to any default by Sublessee in the payment of Additional Rent as are provided in this
Sublease, the Master Lease or applicable law with respect to any nonpayment of rent.

               3.2     The f<ixcd Rent and, except as otherwise specifically provided in this
Sublease, the Additional Rent, shall be paid by Sublessec to Sublessor at the office of Sublessor
set forth above or such other place as Sublcssor may designate in writing, without prior notice or
demand therefor without any abatement, deduction or setoff except as provided herein.

                     4.         Use.


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                4.1    Sublessee may occupy and use the Premises only for the uses permitted
under the Master Lease, and for no other purpose, provided that any use of the Premises shall in
all respects be only as permitted under the terms and provisions of this Sublease and the Master
Lease, including the rules and regulations under the Master Lease, and any and all laws, statutes
ordinances, orders, regulations and requirements of all federal, state and local governmental,
public or quasi-public authorities, whether now or hereafter in effect, which may be applicable to
or in any way affect the Premises or the Premises or any part thereof (collectively, "Legal
Requirements").

                 4.2      Sublessee shall not, without the prior consent of Sublessor and Landlord ,
knowingly do or permit anything to be done which may result in a violation of the terms of thi s
Sublease or the Master Lease or which may make Sublessor liable for any damages, claims,
fin es, penalties, costs or expenses thereunder.

                     5.         Master Lease.

                 5.1    This Sublease' and all of Sublessee' s rights hereunder are and shal l remain
in all respects subject and subordinate to (i) ·all of the terms and provisions of the Master Lease, a
copy of which (except fo r the rent and certain other financial provisions) has been delivered to
Sublessee, (i i) any and all amendments of the Master Lease or supplemental agreements relating
thereto hereafter made between Landlord and Sublessor (copies of which Sub lessor agrees to
deliver to Sublessee except for the rent and certain other financial provisions which may be
contained therein), provided, however, that Sublessor shall not enter into any such amendments
or supplemental agreements that shall ( I) adversely affect Sublessee's rights or Sublessor's
obligations hereunder, other than in a de minimis fashion, (2) increase Sublessee's obligations
hereunder, other than in a de minimis fashio n, (3) decrease the size of the Premises, or (4)
shorten the term hereof, and (iii) any and all matters to which the tenancy of Sublcssor, as tenant
under the Master Lease, is or may be subordinate. Sublessee shall in no case have any rights
under this Sublease greater than Sublessor' s rights as tenant under the Master Lease; however, in
the event of any conflict between the Master Lease and this Sublease, as between Sublessor and
Sublessee only, the terms of this Sublease shall control. The forego ing provisions shall be sclf-
operative and no further instrument of subordination shalJ be necessary to effectuate such
provisions unless required by Landlord or Sublessor, in which event Sublessee shall, upon
demand by Landlord or Sublessor at any time and from time to time, execute, acknowledge and
deliver to Sublessor and Landlord any and all commercially reasonable instruments that
Sublessor or Landlord may deem reasonably necessary or proper to confirm such subordination
of thi s Sublease, and the rights of Sublessee hereunder.

                 5.2    Sub lessee acknowledges that in the event of a termination of the Master
 Lease or re-entry or dispossess by Landlord under the Master Lease, Landlord may, at its
 option, take over all of the right, title and interest of Sublessor hereunder and Sublessee agrees
 that it shall, at Landlord's option, attorn to Landlord pursuant to the then cxecutory provisions
 of this Sublease, except that Landlord shall not (i) be liable for any previous act or omission of
 Sublessor under this Sub lease, (ii) be subject to any offset not expressly provided in this
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 Sublease, which theretofore accrued to the Sublessee against Sublessor, or (iii) be bound by any
 previous modification of this Sublease (which is made without Landlord's consent) or by any
 previous prepayment of more than one month's rent.

                5.3    Sublessee shaJl _,observe and perform for the benefit of Landlord and
 Sublessor, each and every term, co~enan.t, condition and agreement of the Master Lease which
 Sublcssor is required to observe or perform with respect to the Premises as Tenant under the
 Master Lease during the Term of this Sublease, to the extent such term, covenat, condition and
 agreement of the Master Lease has been incorporated into this Sublease by the terms hereof.
 Except as otherwise specifically provided in this Sublease, all of the terms, covenants,
 conditions and agreements which Landlord or Sublessor are required to observe or perform with
 respect to the Premises as patties lo the Master Lease are hereby incorporated herein by
 reference and deemed to constitute terms, covenants, conditions and agreements which
 Sublcssor and Sublessee are required to observe or perform under this Sublease as if set forth
 herein at length, mutatis mutandis. Sublcssor may exercise all of the rights, powers, privileges
 and remedies reserved to Landlord under the Master Lease to the same extent as if fully set forth
 herein at length, except as may be provided otherwise herein, and all rights and remedies arising
 out of or with respect to any default by Sublessee in the payment of Rent hereunder or the
 observance or performance of the terms, covenants, conditions and agreements of this Sublease
 (including those pottions of the Master Lease that are incorporated herein). Notwithstanding
 the foregoing, the following provisions of the Master Lease shall not be incorporated in this
 Sublease: Sections 1.3, lA and Ll, the portion of Section 3.1 that precedes paragraph (fil
 thereof, Section 3.2, Article 5, Section 7.9, the third sentence of Section I 0.1, Article l l ,
 Sections 15 .1(h) and fil, the first two
                                      <
                                            sentences of Article 18, Article J9 (except for Section
                                          ' ,,.

 19.3), Articles 23 and 25, the porti9ji of.~ection 27.2 following the words "provided, however",
 and Schedules 1 and ~. In addition,' in incorporating Section 19.2 into this Sublease, the second
 sentence shaJJ be modified to read as' follows: "Sublcssee shall not be liable for any
 environmental or hazardous materials issues relating to the Premises resulting from any
 environmental or hazardous materials existing prior to the Commencement Date or having
 migrated underground from or through adjacent prope11ies prior to the Commencement Date."

               5.4    The consent of Landlord shall be required in connection with any act which
requires the consent of Landlord pursuant to the terms of the Master Lease, notwithstanding that
a particular provision herein may not require Sublessor's consent or states that only Sublessor' s
consent is required. Upon request of Sublessee, Sublessor will request Landlord's consent to any
act for which such consent is required. If Landlord grants such consent, Sublessor shall also so
consent, provided that the matter for which Sublessee is seeking consent shall not (i) increase the
obligations or potential liability of Sublessor hereunder or under the Master Lease, (ii) eliminate
or adversely modify the rights of Sublessor under this Sublease, or (iii) eliminate or adversely
reduce the obligations of Sublessee under this Sublease.

                5.5    Sublessor shall request from Landlord, at the time of requesting
Landl ord's consent to this Sublease, an agreement under which Landlord agrees that Sublessee
shall not be disturbed in its possessiqp 1 u(e and enjoyment of the Premises for the entire term of
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this Sublease, even if Sublessor defaults under the Master Lease or if the Master Lease
terminates before the expiration of this Sublease; provided that as part of such agreement
Sublessee must agree (upon any termination of the Master Lease) to make full and complete
attornment to the Landlord upon the then executory terms of this Sublease for the balance of the
Term (a "Recognition Agreement"). If, as of the date of execution of this Sublease, there is any
deed of trust, ground lease, or other similar encumbrance affecting the Site, Project, Building or
Premises of which Sublessor or Sublessee is aware, Sublessor shall also request from Landlord,
at the time of requesting Landlord's consent to this Sublease, that it obtain from the holder of
such encumbrance an agreement that Sublessee shall not be disturbed in its possession, use and
enjoyment of the Premises by such holder in the event of a foreclosure of such encumbrance (an
"SNDA").        Notwithstanding such requests, Sublessee acknowledges and agrees that the
obtaining of a Recognition Agreement and/or an SNDA are not conditions to the occurrence of
the Commencement Date, and that Landlord's fail ure to enter into or deliver a Recognition
Agreement or an SNDA, or its delax in cq)1sidering any request therefor, shall have no effect on
Sublessee's obligations hereunder. ·

                    6.       Services.

                    6.1Sublessee shall be entitled during the Term to receive all services, utilities,
repairs and facilities which Landlord is required to provide insofar as such services, utilities,
repairs and facilities pe11ain to the Premises. Notwithstanding anything to the contrary in this
Sublease, Sublessor shall have no liability of any nature whatsoever to Sublessee as a
consequence of the failu re or delay on the part or Landlord in performing any or all of its
obligations under the Master Lease, unless such failure or delay is caused by Sublessor, and
under no circumstances shall Sublessee have any right to require or obtain the performance by
Sublessor of any obligations of Landlord under the Master Lease or otherwise. Sublcssee's
obligations under this Sublease shall not be impaired, nor shall the performance thereof be
excused, because of any failure or delay on the pa1t of Landlord in performing its obligations
under the Master Lease.

                6.2     If at any time during the Term Land lord shall default in any of its
obligations to furn ish faci lities, services or.I utilities
                                                   .
                                                             or to make repairs to the Premises, then, upon
Sub lessor's receipt or a written noti~·r·: ~r~t11 Sublessee specifying such default, Sublessor shall, at
Sublessee's sole cost and expense; use its reasonable efforts to cause Landlord to cure such
default. If Landlord fails to cure such default in a timely manner, Sublessor shall, if requested by
Sublessee, at Sublessee's cost and expense, either pursue its legal rights against Landlord, or at
Sublessor's option, assign to Sublessee any claim it may have against Landlord on account of
any such default (which assignment shall include the right to pursue legal action against
Landlord). Sublessee shall have the right to demand that Sublessor assign such claim to
Sublessee if Sublessor fails to comply with its obligations hereunder fo r a period of twenty (20)
days fo llowing written notice from Sublessee (unless such matter is of a nature that same cannot
be complied with during such period, provided Sublessor is using diligent efforts to so comply).

                    7.       Alterations and Repairs.
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              7.1     Sublessee shall make no alterations, installations, additions or
improvements, including Subles~ee's.\ initial leasehold improvements, (collectively,
"Alterations") in or about the Premises'· without the prior written consent of Sub lessor and
Landlord in each instance, which consent shall not be unreasonably withheld by Sublessor as to
nonstructural Alterations which do not affect building systems provided any required consent of
Landlord (to the extent required under the Master Lease) shall have first been obtained. Any
Alterations consented to by Sublessor shall be performed by Sublessee, at its sole cost and
expense, and in compliance with the following requirements:

               (a)    Sublessee, at its sole expense, shall comply with all of the provisions of
this S ublease and the Master Lease pertaining to the making of Alterations, including, without
limiting the generality of the foregoing, any provisions requiring the prior written consent of
Landlord before any /\Iterations may be made in or about the Premises;

               (b)    Sublcssee shall submit to Sublessor for its and Landlord's prior written
approval all plans and specifications for such proposed /\Iterations, together with the name of the
proposed contractor and all proposed subcontractors, and all other documentation required to be
submitted by Sub lessor to Landlord under the Master Lease in respect of such Alterations;

                (c)    Sublessce, at its sple expense, and prior to commencing any work
reasonably estimated by Sublessor tQ~p.<;>st. in excess of $50,000, shall deliver to Sublessor cash or
a letter of credit equal to 110% of ibe 'eshmated cost of such Alteration , which security depos it
shall promptly be returned to Sublessee upon (i) completion of the Alteration in question, (ii)
evidence of payment by Sublcssee of the costs thereof, and (iii) evidence of the waiver of any
mechanics or other liens in connection therewith;

               (d)    Sublessee shall furnish Sublessor with certificates of insurance as shall be
reasonably satisfactory to Sublessor as to coverage and insurer (who shall be licensed to do
business in the State of Californ ia), includ ing, but not limited to, liability, property damage, and
worker's compensation insurance to protect Sublessor, Landlord, their agents, employees,
successors and assigns and Sublessee d uring the period of the performance of such Alteration;

                (e)    All such Alterations shall be performed in a good and workmanlike manner
and in compliance with all Legal Requirements and with all requirements of any insurance
policies affecting the Premises or the Premises and so as to cause as little interference as possible
with Sublessor's or its sublessees' use, occupancy and enjoyment of the premises of which the
Premises are a pa1i; and

              (1)     Sublessee, at its sole expense, shall obtain all municipal and other
governmental licenses, permits, authoriz~tjons, approvals and certificates required in connection
                                   ' ' ' ,J.~.~  j

with such Alteration.               I.' '::.

                    7.2       Subject to Sublessor''s obligations with respect to the condition of the
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Premises on the Commencement Date, Sublessor shall have no obligations whatsoever to make
any repairs or Alterations in the Premises to any systems serving the Premises or to any
equipment, fixtures or furnishing in the Premises, or to restore the Premises in the event of a fire
or other casualty therein or to perform any other duty with respect to the Premises which
Landlord is required to perfonn pursuant to certain obligations which Landlord has to Sublessor
under the Master Lease. Sublessee shall look solely to Landlord for the making of any and all
repairs in the Premises and the performance of all such other work and responsibilities and only
to the extent required by the terms of the Master Lease, subj ect lo the provisions of A1ticle 6
herein.
                                                           ~!
               7.3    Sublessor hereby' consents to the Sublessee's proposed alterations more
particularly described on Exhibit B annexed hereto (the "Proposed Alterations").

               7.4     Sublessee covenants and agrees to restore and/or remove any Alterations
made to the Premises (including, without limitation, the Proposed Alterations) upon the
expiration or sooner termination of this Sublease, if so requested by Landlord. If Landlord shall
condition its consent to the Proposed Alterations upon the restoration and/or removal of the
Proposed Alterations upon the expiration or sooner termination of this Sublease, Landlord' s
consent shall be deemed given and Sublessee hereby agrees to so restore and/or remove same.
Sublessee's obligations under this Section 7.4 shall survive the expiration or sooner termination
of this Sublease.

                    8.       Insurance.

                    8. 1
                      Sublessee, at Sublessee's sole expense, shall maintain for the benefit of
Sublessee, Sublessor and Landlord such policies of insurance required to be maintained by the
"Tenant" under the Master Lease or reasonably satisfactory to Sublessor as to coverage and
insurer (who shall be licensed to do business in the State of California), provided that such
insurance shall at a minimum include comprehensive general liability insurance protecting and
indemnifying Sublessor, Landlord !ffid S)1blessee against any and all claims and liabilities for
injury or damage to persons or prope1ty J r for the loss of time or of property occurring upon, in
or about the Premises, and the public portions of the Premises, caused by or resulting from or in
connection with any act or omission of Sublessee, Sublessee's employees, agents or invitees.
Sublessee shall furnish to Sublessor certificates of insurance evidencing such coverage prior to
the Commencement Date. Subject to the terms of the Master Lease, Sublessee may satisfy its
insurance requirements hereunder by a separate policy(ies) or under one or more blanket
policies, provided the coverage applicable to the Premises is not diminished thereby.

                8.2   Sublessor and Sublessee each hereby releases and waives all right to
recovery against the other or anyone claiming through or under the other for prope1ty damage
resulting from a peril insurable under a standard "all risk" policy of property insurance, by way
of subrogation or otherwise. The foregoing release and waiver shall be in force only if the
insurance policies of Sublessor and Sublessee provide that such release or waiver does not
invalidate the insurance; each party agrees to use its best efforts to include such a provision in its
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applicable insurance policies. If the int;lusion of said provision would involve an additional
expense, either party, at its sole exp.ense, inay require such provision to be inse1ted in the other's
policy.

                    9.       Assignment, Subletting and Encumbrances.

               9 .1    Except as otherwise provided herein, Sublessee, shall not sublease,
mortgage, pledge or otherwise encumber all or any part of the Premises, assign this Sublease (by
operation of law or otherwise) or permit the Premises to be used or occupied by anyone other
than Sublessee, without the prior written approval of Sublessor and Landlord in each instance,
which approval from Landlord shall be granted or withheld in accordance with the terms of the
Master Lease and from Sublessor shall not be unreasonably withheld or delayed. If Sublessor
consents to an assignment of this Sublease or a subletting of the Premises, no such assignment or
subletting shall be or be deemed to be effective until the following conditions have been met:

                  (i)     Landlord shall have consented in writing to such assignment or subletting
          (to the extent Landlord's consent is required under the Master Lease);

                  (ii)    in the case of an assignment, the assignee shall have assumed in writing,
          directly for the benefit of Sµbl~\S~or,
                                          ! ~ '"I
                                              i
                                                  all of the obligations of Sublessee hereunder and
                                                    :   , .>

          Sublessor shall have been .furni~hed with a duplicate original of the agreement of
          assignment and assumption, in for~ and substance reasonably satisfactory to Sublessor;
          and

                 (iii)   in the case of a subletting, Sublessor shall have been furnished with a
          duplicate original of the sublease prior to the commencement of the term of such
          sublease, which sublease shall be in form and substance reasonably satisfactory to
          Sublessor, and shall be subject and subordinate to all of the terms, covenants and
          conditions of this Sublease and the Master Lease.

Notwithstanding Sub lessor's consent to any such assignment or subletting, the provisions of this
subsection shall be applicable to each and every subsequent assignment or subletting, and
Sub lessee shall not be released from any of its obligations or liabilities hereunder.

               9.2    If this Sublease be assigned or if the Premises or any part thereof be fwther
sublet or occupied by anybody other than Sublessee, Sublessor may, after default by Sublessee
beyond applicable notice and cure provisions, collect rent from the assignee, subtenant or
occupant, and, if Sublessor does so, it shall apply the net amount collected to the Fixed Rent,
Additional Rent and other charges h~rein reserved, but no such assignment, subletting,
occupancy or collection shall be deer.,ecf ~ waiver of Sublessee's covenants under this A1ticle 9,
or the acceptance by Sublessor of the assignee, subtenant or occupant as tenant hereunder or a
release of Sub lessee from the further performance by Sublessee of any of the terms, covenants
and conditions of this Sublease on the pa1t of Sub lessee to be performed hereunder.


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        9.3     In the event Sublessee shall assign this Lease or sublease the Premises, Sublessee
shall pay to Sublessor as Additional Rent, a sum equal to 50% of (x) any fixed rent and
additional rent or other consideration paid to Sublessor by any assignee or subtenant which is in
excess of the Fixed Rent then being paid by Sublessee to Sublessor pursuant to the terms hereof,
and (y) any other profit or gain realized by Sublessee from any such assignment or subletting.

       9.4     Sublcsscc shall pay on demand the actual costs and expenses reasonably incurred
by Sublessor and Landlord, including, without limitation, reasonable architect, engineer and
attorneys' fees and disbursements ip,;e<llJUiection with any proposed or actual assignment of this
Sublease or subletting of the Premises or' any part thereof and the review and/or preparation of
documents in connection therewith.

                    10.      Indemnification

        10.1 Sublessee shall indemnify Sublessor and Landlord (and their respective
employees, agents, contractors and licensee) against any (a) negligence of Sublessee (or anyone
claiming by or through Sublessee) or its or their partners, members, directors, officers or
employees; (b) breach of any representation or warranty made by Sublessee in this Sublease or
default by Sublessee under this Sublease; (c) use, occupancy, control, management, operation
and possession of the Premises; (d) any work done at the Premises, and any agreements that
Sublessee (or anyone claiming through Sublessee) makes for such work; (e) the condition of the
Premises or any street, curb or sidewalk adjoining the Premises, or any vaults, tunnels,
passageways or space under, adjoining or appurtenant to the Premises; and (f) any accident,
injury or damage whatsoever caused to any person in or on the Premises or upon or under the
sidewalks adjoining the Premises.

                10.2   [f any action or proceeding shall be brought against Sublessor or Landlord
by reason of any such claim, Suble~~.;~~·t!eon notice from Sublessor or Landlord, shall resist and
defend such action or proceeding _"and ·employ counsel therefor reasonably satisfactory to
Sublessor and Landlord (counsel required by Sublessee's insurance company shall be deemed
satisfactory to Sublessor). Sublessee shall pay to Sublessor on demand all sums which may be
owing to Sublessor and Landlord by reason of the provisions of this subsection. Sublessee's
obligations under this subsection shall survive the Expiration Date or other termination of this
Sublease.

                    1 1.     Time Limits.

               11. 1 Except with respect to actions to be taken by Sublessee for which shorter
time limits are specifically set forth in this Sublease, which time limits shall control for the
purposes of this Sublease, the time limits provided in those portions of the Master Lease that are
incorporated herein for the giving or making of any Notice (as hereinafter defined) by the tenant
thereunder to Landlord, the holder of any leasehold mortgage or any other party, or for the
performance of any act, condition or covenant by the tenant thereunder, or for the exercise of any
right, remedy or option by the tenant thereunder, are changed for the purpose of incorporation
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into this Sublease, by shortening the same in each instance by (i) fifteen ( 15) days with respect to
all such periods of s ixty (60) or more days, (ii) seven (7) days with respect to all such periods of
thirty (30) or more days but less than sixty (60) days, (iii) five (5) days with respect to all such
periods of twenty (20) or more but less than thi rty (30) days and (iv) three (3) days with respect
to all such periods of less than twenty (20) days, provided, however, that in no event shall any
such period be shortened to less than five (5) days, so that any Notice may be given or made, or
any act, condition or covenant performed, or option hereunder exercised, by Sublessor within the
time limit relating thereto contained in the Master Lease.

                11.2   Except w ith respect to actions to be taken by Sublessor for which longer
time limits are specifically set fo1ih in this Sublease, which time limits shall control for the
purposes of this Sublease, the time Iimits provided in the Master Lease for the giving or making
of any Notice by Landlord or the performance of any act, covenant or condition by Landlord for
the exercise of any right, remedy or option by Landlord thereunder are changed for the purposes
of this Sublease, by lengthening the same in each instance by (i) ten ( 10) days with respect to all
such periods of sixty (60) or more days (ii) seven (7) days with respect to all such periods of
thirty (30) or more but less than sixty (60) days, (iii) five (5) days with respect to all such periods
of twenty (20) or more but less than thirty (30) days and (iv) three (3) days with respect to all
such periods of less than twenty (20) days so that any Notice may be given or made, or any act,
condition or covenant performed or option hereunder exercised by Land lord within the number
of days respectively set forth above, after the time limits relating thereto contained in the Master
Lease.

                    12.      Quiet Enjoyment.

                12. 1  Sublessor covenants that, as long as Sublessee shall pay the Fixed Rent
and Additional Rent and all other amounts due hereunder and shall duly observe, perform, and
comply with all of the terms, covenants and conditions of this Sublease on its pru1 to be
observed, performed or complied with, Sublessee shall, subject to all of the terms of the Master
Lease and this Sublease, peaceably have, hold and enjoy the Premises during the Term w ithout
moles tation or hindrance by Sublessor.

                    13.      Security.

                13.1    Simultaneously with the execution of this Sublease, Sublessee shall
deposit with Sublessor the sum of $127,,520 Dollars ("Security Deposit") as security for the
faithful performance and observanq~ by· $~1blcssee of all of the terms, covenants and conditions
of this Sublease on Sublessee's part to be performed and observed. Sublessor s hall deposit the
Security Deposit in an interest bearing money market account, and Sublessee shall be entitled to
all interest earned on the Security Deposit. Sublessor may use, apply or retain the whole or any
pru·t of the Security Deposit to the extent required for the payment of any Rent and any other
sums as to which Sublessee may be in default hereunder beyond the expiration of applicable
grace and notice periods and for any sum which Sublessor may expend or may be required to
expend by reason of Sublessee's default beyond the expiration of applicable grace and notice

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periods in respect of any of the terms, covenants and conditions of this Sublease, including,
without limiting the generality of the fo regoing, any and all damages and deficiencies in the
reletting of the Prem ises, whether such damages or deficiencies shall accrue before or after
summary proceedings or other re-entry by Sublessor. In the event that Sublessee shall full y and
faithfully comply with all of the terms, provisions, covenants and conditions of this Sublease, the
Security Deposit, or so much thereof as shall not have been applied by Sublessor as aforesaid,
together with accrued interest thereof, shall be returned to Sublessee promptly fo llowing the
Expiration Date or date of earli e~~.ternijnation and delivery of the entire possession of the
Prem ises to Sublcssor. In the everit of an assignment by Sublessor of its interest under the
Master Lease, Sublessor shall have the right to transfer the Security Deposit to the assignee and
Sublessor shall thereupon be released by Sublessee from all liabi lity for the return of such
Security Deposit. In such event, Sublessee shall look solely to its new landlord for the return of
said Security Deposit and by taking such assignment the new landlord shall be deemed to have
assumed the obligation for the return of the Security Deposit. The forego ing provisions shall
apply to every transfer or assignment made of the Security Deposit to a new landlord. Sublessee
further covenants that it will not assign or encumber or attempt to assign or encumber the
Security Deposit and that neither Su blessor nor its successors and assigns shall be bound by any
such assignment, encumbrance, attempted assignment or attempted encumbrance.

                 13.2    Sub lessee shall have the right, either (i) in lieu of the funds required to be
deposited with Sublessor pursuant to this Article 13 or (ii) at any time thereafter in substitution
for such funds, to deposit and maintain with Sublessor as the security deposit referred to in this
Article 13, an irrevocable commercial letter of credit in the aggregate amount of $127,520 in
form and substance reasonably satisfactory to Sublessor, and issued by a member bank of the
New York Clearing House Association, payable upon the presentation by Sublcssor to such bank
of a sight-draft, without presentation of any other documents, statements or authorizations, which
letter of credit shall provide (i) for thtf_ ~OS)t,inuance of such credit for the period of at least one ( l)
year from the date the same is issueo, (i i) tor the automatic extension of such letter of credit for
additional periods of one (1) year frol)1 the ini tial and each future expiration date thereof (the last
such extension to provide fo r the continuance of such letter of credit fo r at least one (1) month
beyond the Expiration Date, unless such bank gives Sublessor notice of its intention not to renew
such letter of credit not less than sixty (60) days prior to the initial or any future expiration date
of such letter of credit and (iii) that in the event such notice is given by such bank, Sublessor
shall have the right to draw on such bank at sight for the balance remaining in such letter of
credit and hold and apply the proceeds thereof in accordance with the provisions of this Article
_u. Each letter of credit to be deposited and maintained with Su blessor (or the proceeds thereof)
shall be held by Sublessor as security for the faithful performance and observance by Sublessec
of the terms, provisions and conditions of this Sublease, and in the even t that (x) any default
occurs under this Sub lease and continues beyond the expiration of applicable notice and cure
periods, or (y) Sublessor transfers its ri ght, title and interest under this S ublease to a third party
and the bank issuing such Jetter of credit docs not consent to the transfer of such letter of credit
to such third pa1ty, or (z) notice is given by the bank issuing such letter of credit that it does not
intend to renew the same, as above provided, then, in any such event, Sublessor may draw on
such letter of credit, and the proceeds of such letter of credit shall then be held and applied as

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security (and be replenished, if necessary) as provided in Section 13.1. In the event that
Sublessee shall fully and faithfully comply with all of the terms, provisions, covenants and
conditions of this Sublease, the Security Deposit, or so much thereof as shall not have been
applied by Sublessor as aforesaid, shall be returned to Sublessee promptly following the
Expiration Date or date of earlier termination and delivery of the entire possession of the
Premises to Sublessor.

                    14.      Notices.

               14.l    All notices, consents, approvals or other communications (collectively, a
"Notice") required to be given under this Sublease or pursuant to law shall be in writing and,
unless otherwise required by law, shall be given by certified mail, return receipt requested,
postage prepaid or by nationally recognized overnight courier service, to the parties at their
respective addresses set forth above or such other address as either may designate by Notice to
the other. Notices to Sublessor shall be _addressed to the attention of: Director of Real Estate,
and copies of notices to Sub lessor shall be given in like manner to (i) PRADA USA Corp., 610
West 52nd Street, New York, New York 10019, Attn: General Counsel, and (ii) Duval &
Stachenfeld LLP, 300 East 4211d Street, New York, New York, 10017, Attn: Eric G. Menkes, Esq.
A copy of any Notice to Sublessee shall be given in like manner to Dean Dunn-Rankin, Hewitt &
O'Neil LLP, 19900 MacA1thur Blvd, Suite 1050, Irvine, California 92612. Any notice given
pursuant hereto shall be deemed to have been received on the third business day after the mailing
thereof if mailed in accordance with the terms hereof or on the following business day after
delivery to the overnight courier service. Counsel for Sublessor and Sublessee may give notices
hereunder on behalf of their respective clients.

                    15.      Landlord's Consent Required.

              15.1    This Sublease shall be of no force or effect unless and until Sublessor
shall have obtained Landlord ' s written consent to this Sublease and the Proposed Alterations,
and delivered to Sublessee an executed copy of such consent in a form reasonably acceptable to
Sublessee.

                    16.      Broker.

               Sublessee and Subles~o1'. i ypresent and warrant to each other that they have not
dealt with any broker in conneciion with this Sublease other than Issacs and Company
Commercial Real Estate, LLC, Dembo & Associates, Robert K. Futterman & Associates and
Urban Retail Real Estate Group (collectively the "Broker") and that no broker or person other
than the Broker had any part or was instrnmental in any way in bringing about this transaction.
Sublessee and Sublessor shall indemnify and hold each other harmless from and against any and
all loss, claims, liabilities, damages and expenses, including, without limitation, attorneys' fees
and expenses and court costs, arising out of or in connection with any breach or alleged breach of
the above representations or any claim by any person or entity other than Broker for brokerage
commissions or other compensation in connection with the consummation of this Sublease. The
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provisions of this Article 16 shall survive the expiration or sooner termination of this Sublease.
Sublessor shaJI pay the Broker any compensation in connection with this Sublease pursuant to
separate agreement.

                    17.       Waiver of Rigl'ftS to~riury and Counterclaim.

                17. l  Sublessor and Sublessee each hereby waive to the fullest extent permitted
by law, trial by jury in any action, proceeding or counterclaim brought by either of the parties
against the other on any matters whatsoever arising out of or in any way connected with this
Sublease, the relationship of Sublessor and Sublcssee, Sublessee's use or occupancy of the
Premises, and/or any claim of injury or damage, or for the enforcement of any remedy under any
statute, emergency or otherwise. Sublessor and Sublessee further agree that in the event
Sublessor commences any summary proceeding for non-payment of Rent, Sublessee will not
interpose any counterclaim (other than compulsory counterclaims) of whatever nature or
description in any such proceeding.

               17.2   Sublessee hereby waives its right to interpose or counterclaim (other than
compulsory counterclaims) in any summary proceeding instituted to remove Sublessee from the
Premises or in any action or proceeding instituted for the collection of Fixed Rent, Additional
Rent or other amounts Sublessee is obligated to pay Sublessor hereunder.

                    18.       Miscellaneous.

               18.1    This Subleas~hshalb~be governed by and construed in accordance with the
laws of the State of California.            '

              18.2    The section headings in this Sublease are inserted only as a matter of
convenience for reference and are not to be given any effect in construing this Sublease.

               18.3   If any of the provisions of this Sublease or the application thereof to any
person or circumstance shall, to any extent, be invalid or unenforceable, the remainder of this
Sublease, or the application of such provision or provisions to persons or circumstances other
than those as to whom or which it is held invalid or unenforceable, shall not be affected thereby,
and every provision of this Sublease shall be valid and enforceable to the fullest extent permitted
by law.

               18.4    All of the terms and provisions of this Sublease shaJI be binding upon and
inure to the benefit of the parties hereto and, subject to the provisions of Article 9 hereof, their
respective successors and assigns.

                18.5 Sublessor has made no representations, warranties or covenants to or with
Sub lessee with respect to the subject matter of this Sublease except as expressly provided herein
and all prior negotiations and agre~~((nt~ relating thereto are merged into this Sublease. This
Sublease may not be amended or teilfuinafod, in whole or in part, nor may any of the provisions
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be waived, except by a written instrument executed by the party against whom enforcement of
such amendment, termination or waiver is sought and unless the same is permitted under the
terms and provisions of the Master Lease.

                 18.6 Contemporaneous with its execution of this Sublease, Sublessee's parent,
QUIKSILVER, INC., a Delaware corporation ("Guarantor") is delivering to Sublessor a
Guaranty of Performance and Obligations (the "Guaranty") with respect to Sublessor's
obligations hereunder. Sublessee acknowledges and agrees that delivery of the Guaranty by the
Guarantor is a material inducement to Sublessor to enter into this Sublease, and accordingly
Sublessee agrees that it shall be an event of default hereunder (with no cure period or right of
redemption) in the event (i) Guarantor shall default under the Guaranty for a period of ten (10)
days' written notice from Sublessor, (ii) Guarantor shall make an assignment for the benefit of
creditors, (iii) Guarantor shall file a.'yolut1tary petition under any bankruptcy or insolvency law,
(iv) an involuntary petition allegingr ·an ~ct of bankruptcy or insolvency shall be filed against
Guarantor under any bankruptcy or insolvency Jaw and not cured within sixty (60) days, or (v) a
receiver of Guarantor, or of or for the property of Guarantor, shal I be appointed.

                18.7 Sublessor represents, warrants and covenants to Sublessee that (a) the
copy of the Master Lease which is attached hereto as Exhibit A is a true and correct copy of the
Master Lease (with business terms redacted), including all amendments and modifications
thereto (except as hereinafter provided), and the Master Lease is in full force and effect as of the
date of this Sublease; (b) to Sublessor's knowledge, Sub lessor is not presently in default under or
in breach of any of the provisions of the Master Lease that would materially adversely affect
Sublessee's use or enjoyment of the Premises; (c) Sublessor has no knowledge of any claim by
Landlord that Sublessor is in default or breach of any of the provisions of the Master Lease; (d)
Sublessor is entitled to occupancy of the Premises and has not, other than under the provisions of
this Sublease, sublet or assigned its right to occupancy of the Premises; and (e) the side letter
referenced in Section 28.3 of the Master Lease has no bearing on Sublessee's use or occupancy
of the Premises and does not and will not adversely affect Sublessee's rights under this Sublease
or increase Sublessee's obligations under this Sublease .
                                                     .
                                           ' its rights to modify Lessor's Insurance (as such term
                18.8 If Landlord e;x,~rP;\$~S
is defined in the Master Lease) pur.suarit. to Section 9.4 of the Master Lease, Sublessor shall
notify Sublessee, and Sublessee shall. hav·e the right to reasonably direct Sublessor with respect
to the negotiations described therein.

               18.9 After the execution and delivery hereof, Sublessor and Sublessee shall
from time to time at the reasonable request of the other and at the cost and expense of the
requesting paity, execute and deliver such other instruments and take such other actions as the
requesting party may reasonably request in order to fully consummate the transactions
contemplated by this Sublease.

                                          [Signatmes appear on following page]


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               IN WITNESS WHEREOF,~.Sublessor and Sublessee have executed this Sublease
as of the day and year first above wt&~~h-;tf
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                                                                         •
                                                                                             .                  .              .
                                                                     .
                                                                  ' ..
                                                                               PRADA USA CORP,. aDelawai:e-corporation,_ __ _


                                                                               By:~..v-;::::;._4.'l:...1--~~.=....1.-...,;;_~~~~
                                                                                    Name:?
                                                                                    Title: C


                                                                               QS RETAIL, INC., a Delaware corporation



                                                                               By:~~~~~~~~~~~~~~~
                                                                                    Name:
                                                                                    Title:

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               IN WITNESS WHEREOF,~'. Sublessor· and Sublessee have executed this Sublease
as of the day and year first above wAt~¢ti·}'.:
                                             ,.
                                                   '' .         .                            . .         ·
                                                               PRADA USA CORP., aD.elaw.are-co.r:porati.on,_ _ _ __


                                                               By:~~~~~~~~~~~~~~
                                                                    Name:
                                                                    Title:


                                                           QS RETAIL, INC., a Delaware corporation



                                                           By:
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                                                                         ar
                                                                          ~Br Sell
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                                                                    Title:        SVP Rn Ops




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                                              EXHIBIT A

                                             Master Lease




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        RED SAIL REAL ESTAT E LOS ANGELES INC.,




                                and




                     PRADA USA CORP.,
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         l case dated as June I 0. 2004 (this ·'Lea..-;e ") ber-.vecn Red Sail Real Est.ate Los
,"',ngdcs foe .. ~. Ca!ifomia corporation. having an addri:'ss ar Ci\.) Bern Si:!bih S.p.A .. Via
dci Corso. 63. 00186 Rom~. ltaly \ .. Lessor") and Prada LS:\ Corp .. a Delaware
corporation, having JD address at 610 West 52nd Street, N~w York, NY 10019 ("Lessee'';
I cssor anJ L~ssee being hereinafter referred to as the ·'Parties'·).

                                                     WITNESSETB

           \VHERE..\.S, Lessor is me sok owner of the 12.-riJ d~:;cribcd on Exhibil A hereto
(the ··Land'") and tfK building located therc,0n having an ::iddrcs.s (Jf 80.~5 Melrose
::.. H:rn:~ . Ll'S Ang.:: ks, C:\ 9004t1 wg..?tl1er '' ith al' appc.ncnanccs. and :::cccssones thereto
1-::oliec~ivdy the ··Building'': The L:ind and the Buiidtng bcieg hereinafter colle..:1ively
rcfercet.i t(' as the ''Premises'.); a.nd

         WHEREAS. Lessor and Lessee desire w emer inu this Lc:i...;t~ of Lhc Pren11ses.

        '.\O\\" THEREFORE. the P~n1cs hereto hereby covcnam and. agrc..; as follows

                                                        ARTICLE 1
                                                     PREMISES: TER!\I

l .1    !}_emise. Lessor hereby lcas.::s fO Lessee, m1ri Less..::;:- her>::by 11ir~s from Lessor the
        Prcmis~s (exclt:ding any a1r space or dcvdoprncrn rights rdatin~ iO the Premises)
        t'n w1 :.as is" lt2.5t'l ~ffoctivc as of the C--immc·1ccmcr.• i'·1tc (J~ hereinafter
        cL.:fincd). Lessee represents that it is aware of and 2cccpt<=. the condnion of the
        Pri:mises <!s of the Commencernent D<1te. Lessee ack.r10\vledg.e;:, that prior to the
        e;:~c:.rnon and delivery of this T.ease. Lcsst~e or an affiliate thereof, o\vned tl-te
        herniscs . . \s a result. Lessee is fully familiar '.vith all aspects of the Premises am1
        it is expressly understood and agreed that Lessor rn•~kcs uo representations or
        \v~...-·  1 pri,,, wl,<>tsn'- " - \\·1·i.. r"sr'ec· ·1..·1 1 't1 e Pr·crr;s,•s ;,,~i..,1 .r''' \, .;thoL1r 1·1·n·t1·1-ir ;\.,)D
           --.i.1,... · · · " - ' - · - - ... "'"'"'! U! ....,_l" . ·• \ . . . . ~ •• 1 ...... . . .. ~ ........., - i::;- ~, .... - .1 ,.ci .. l .,

        no r:.:pr,?.scntations or \varramics c.1.s LO its use. ir.s condi!l<Jn (including equipmcm
        ~n<l fixt1.m:s) , its cornp!iance with bw. its niuc, it.:: crviwnmcntal condition, its

                 -
        z0nirH:.. ,l\'<:ilabi11t\ of utili·ies. its access ~-.~ <.lil\'
                                        ~                           - o:.'."ler m:iu..::r relating to the
        Prcm!s~s or Lessee':~ us:. occ.:upai1C)', maim.:'nan:.:-: ~1nJ repair of the Prt'rnises. 1J1
                                                                                                                                     ~




        ~ckiition . Lessor shall ha-. c ahso lur;::ly no !i<lbiiity wr:i.tsocvcr w l ~~::see if Lessee
        is noi sat \sficd \\[th any ,;fthc items n:-fem;d to above.

1 .~    Term. The initial term of this Lease llhe ''Initi:1i Tt:m"L shall commence on
        Jun~ 10 . .2004 (lhc ··commcnccmem DaLe") and srdl t:nJ. unkss sooner
        tcm1inated as herem provided, on Jun,~ 0, 2019 (hcr~~ir!·dL-r referred to as the
        "Iniria.I F'\pir:nior. D.nc'').
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 1.3     First Renewal Period. On the lJijtial Expiration Date, the tcm1 of this Lease v.·iJJ
         be 3momai;c3.1ly ~xi:ended (on the same: iem1s and condnions) for an c.dditional
         vcriod of o vears conm1encim: on June 10, 2019 and ending on June 9, 2025
         J-                          ,,,.                                    ._,

         (hereinafter referred to as the "First Renev.·ai Period''), unicss Lessee ncr.ifies
        Lessor in writing Jt leas! 12 months before the Initial Expiration Date (the
        "Outside Date'» of ils intention w rem1inate ihis ~ease on the Initial Expiration
        Date. Lessor shall provide Lessee wir.h wrinen nmice at least 14 months before
        the Initial Expirarion Date to notify Lessee that if Lessee foils co deliver a notice
        of t~1111ination of this Lease to Lessor by the Outside Dz.te. then this Lease shall
        be automa1ically rrnc'-:vcd -_'."or 6 six yea.rs from the 11"1.itrnl Explration Date. If
        l.\~sscc fails to notify Lessor on or prior to the Outside Date of its inteniion tO
        terminate th.is Lease, then. dfe:::tive as of the Outside Date. this Lease shall be
        amom:nicaliy exccndcd for 6 years and shall c.xpin:: on June 9, 2025, and
        thcre2 fkr, ·1·1is Lease may oniy be renewed t"lx four (4) additional pc:r[oc.s of six
        (6) years each as ~et fonh in Section l 4 below. It is the imention o.r the parties
        hc-rew :.!;.:t in ;:o .~v ~nt shall the tcnn of th1;; Lease ix: mor~ than 45 years.
                       1




L4      J.(ene;,yaJ P-:riods. Cpon expiration of the :First Renc\-val Period, the Parties
        hereby agree that the term of this Lease v. .'ili be a.utom::nically extended (on the
        _;;amc tenns 3.nJ conditions) for an addition;il four (-n 1enns of 6 y~ars each (each,
        a ·'Renc\Val P~ri1..1d.'), corn.rnencmg on th~ date foilc"1:ving c.hc cx:-iiration of the
        First Rcnc\<:al Period or the cu!Tent Renewal Period, as applicable, UHless Lessee
        or Lessor notifies the other in writing at least 12 months before the expir~:uion of
         ' t~·irst R'erc\va1 D, cr•(:u
        me                            . ' or i h.,e current Ken~wa
                                                            ~       1 p enou.
                                                                          . -1 as a.pp 1·icab"Jc (sucn'
        uppii..:2bie date, :[1c "Rerie\val Outside Date"). of its i:Hcnion to tcm1inate chis
       L::c.se :.)n t!1c expiration 0f the First Rcn:::wal Period or the cunent Rcnevva1
       Period, as applicab \::. I essor shali provide Lcsste \Viti: wTine2 notice m least l 4
       momhs b.::fore the- applicable Renew;.:.! Ot.ls:c~ Da[e to nor.i fv 'i_.c:'scc that if
       Les~ce fails ·O c.diver a notice of rcrmina ion ·.)l trJs Lease to Lessor by the
       2ppli·.::<~ble Rene\v;::I OuLs1de Date, then this Lease sh2.ll be automati(;ally renewed
       for an ad:faiond b six years u.nles.s Lessor elects to cem1in.ate t.hi~ Lease on or
       b.:-ror~ th..:: applicable Renewal Outside D.itc. '(i neither Lessor nor Lessee gives
       11·.)llt.:e lo ~th:: orhe.r Oil or oefore the applicabic RcnC\\''.:.l Outside Date of llS
       intention to !~munate rhis Lease. then. dfucrivc :i.s of the appllcab!e Renewal
       Out.sio<.; Date, thi::. Lease sh.:lil automatically ~ic cxtt;nlleu C'ur an (.!.dtlilional 6 years
       ::nd 'the cxpirJt10n date of the current Ren<;!wal Period shaI1 be deemed excended to
       the dak vvhich is b years from the expiranon date of the: current Renewal Pcnod
       if 8ithc:- Lessor or Lessee shall give notice to the otha within the time frame
       desc1ibcd above of its imcmion w terminQtc rh;s Lt:ase. a!J subsequent Renewal
       P~rioJs shall al;;,1 be lenmn;i.1ed. '\'either Lessor !1'.}r Lessee shall have any
       ~<i-l·tio·
       a• .... U1. ~ l~... 1...
                           · ,j ..···~n:~\T'' 1
                                   .._..J, ., 10.i. li")J' C"i..,'lSi•"I{)
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                                                                             J ::   .. ..,.




1.5    Renewal Notice. If Lessee elects not to r~new this Lease after the lnitiaJ Tenn or
       either L~ssor or Lessee elects not lo rcnc1,v this Lease after the First Renewal
       Perior or any subsequent Renew a! Period, it mu.:>L notify the other in \\Titing of its
       opiion to tcm1inate this Lease on either the In1tial Expir:iliot! Date or expiration of
                                                                                       4
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       the Firsr Renewal Period or Uie current Renewal Pc:rioc:, as appiicabk. within [he
       time frame described above (the '·Rcne\va! Notice''). The f\t>newa! N~1ticc: shall
       (a) m:lkc reference to the automatic extens ion pro\·isioE set fon.h in Sl:'ction 1.3 or
       Sc.:tion 1A heTeof. as applicable. and tb) be served :;crson<i.Hy on Lessee vr
       U:ssor, ·'J.S the case may be, or mailed by ccrtt1ied or regi;:;tenxl n-:aii.

                                                             ARTICLE:!
                                                                  USE
.• 1
       Lise.     The Pre·nises si1a!! be used and occupied by Lessee (and iis pc-rn1itt~J
                -                                            .
       assi ~nee:,. subtenants and occuoants) for ofrice a:1cii or retai 1 use t including such
       ;..nci!lary us(;:; in corintction thcrcw ith as shall b;:: re:isonablv required m
                                                                                                                 -
       cnnn-:ctwn \ ith Le~sce · s business oper::iri,1ns).

' )    Other l'se. L.:-:sce shaP nor us·' rk Premises for any purpos.: other than that
       ;dentiricd ii: Se(.'t[0n 2.1 .iDO\ e (.iny suc'.i ofou purpo:-;c. h·~rctnaftcr. 'rn '·Other
       Cse .. }. except -.vith Lhe pnor written consem 0{ Les'.'or. \':n.ich consent \•,;iil not be:
       wirc'-l:>onab 1y '>Vithr:dc or delayed.

       l"ol\\ itnslandm:::. the foregoing, it is hereby a;Srrecd tnat Les,;or :>h:ill nz.it be
       rt.".auireJ _,) ;,:;ram its con:>eTit [O an Other Use in J.nv of Lhe ,fi)!l()\\'lDS: simJ.tions:
          .lo       •            .,.._.                                            ..                 ~.




                        \ 1)              wh~rc a change in u:;c of the Premises would. re-characterize this
                                          L:~a.sc as o r;:;sidcmial lease; or


                        \n)               \\here Lc:ss.:!c docs DOl p0ssess the ri.;qL:ircd amhoriza<t•.>ns and
                                          p\:~rn11~s ne.t!<lcd for a c.:1a11ge in use (it be1r1g ag;.:;ed and unde~rstood
                                          thar th<.. c,is:s J.nd c,pcnse:: r~i::n::d k ·)(T:inirh: s21d ;1uthoriz.aricms
                                          a:1 ..i p.::rmit3 sh,111 he borne '.~xclusivc~v by L'2:;scd: or

                        ti ii)            \\her~ a cn~.r1ge in use v·:iil rc-:..uire t.dt~rn~ions to the Pren1ises
                                          which would .1dverscly affec( the stntctural mttgmy of the
                                          Building.

2.3    ( h :rn~e ln c~e '\'cirk. Any work Of modific::nions t,> the Premises which are
       r::'qt·ired in ._:,'llll(!Ction Wllh ~change in use of the Prcmis~~:. sh;;li (i l require the
       pr1or <.l~"'pro·": i vf L.es~c~r \\·'hich, subject (0 t.1~ pP=' v~s l"n1s \Jf St~c:i,Jn 2 :2 :.ibovc,
       <;h:i1l not be ume:tsor:~ul.v \viti1hc1d or d;:·laycd. ·:..nd (1ii h::· subjt::ct LO all of the
       011:~1 :1wvisior:s of this Lease, induding, \\ith0m limnmion. the pro\ isions of
       . .\rticlc 7 hcrr.?of

2A     lntcntiona!h Deleted.

2.3    Compliance with Law. l~ssce shall use, occupy and maimJ.in the Premises ar al!
       timt~s in compliance with all apphcabk laws and shall be ubiigated h) take ail
       steps necessary to insure that it has all the requi~itc: licenses. permits or other
       <iuLhorizations to !egJ.Hy use 1nd occupy the Premise~ in comµliance '"·ith al l
                                                                  5
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      applicable 1aws and to insure Lhat the Premises are at all times in compliance with
      all applicable laws. Lpon Lc:ssee·s receipt of any written notic1.~ from a
      -·                     ~                  -
      ~'.ovemmental authoritv regarding a material violation of law, Lessee shall
                                  -
      promptly 1xov1de Lessor with a copy of such notice

                                            ARTICLE3
                                           FIXED R£~T

3.1   Fixed Rent. The annual fixed rem. (the "Fixed Rent"") for the ?rcrnises shall be
      payilble by Le~see in th~ a.111ount of




      (:")     Fiwd Rcnr for the Pre.mises shall be payable in twel ' e ( 12) equal monthly
               installments in ad'- <mce on the first ( l st) day of each cakndar month dunng
               the te1m commencing on the C'o,..nmcnccmem [h:te and on the first ( l si)
               dav ._)read· calendar month thereafter

      (b)      ··- a.~h momnly insmilmcnt shc.11 be p~iid in 'm fol nmncy of the- Cnited
               'S taies.

      ~ c)     if foe Cornm~:Kcr::~en~ .Oate is nor on rhc first d2y of Lhe monln. or if the
               expiration date is not on the last d:iy of the r::omh. th,~n Lessee. shall pay
               rrn-raI'Xi rent for the month in \\foch th::'! Com;1w:1c ..~mcn: Dr;te and the
               expiration date occurs.

3.2   \Vire lnstructions. The payment of each installment 1.)f hx~d R~Ttt shall be made
      by wire transfer to the follo>v ing bank account oC Lessor: .\ccoul't #- 12619-0:21-
      0002 at Banca Intesa SPA Nev,; York Br,1nc'1 ABA # 0260053 l 9 or to such J1·her
      b;mk ::.;_ccouut as L:-ssor I!la) notify Lessee in wliting of.

3.3   Notice of FalJure to Pa"\·.. l.cssor agrees to pro·vide ~.essee not1ct L'f l,.essee,s
      failure w pay fixed Rem 10 ousmess days after i.hc dar-:- such insrallmcm of Fixed
      Rem 'W8s first due hereunder (the '"fixed Rt:nt No1ice .. ) notifying Lessee of such
      failure; provided. however. a failure by Lessor m scqd such nmice to Lessee shall
      net "vrohibii: Less..•r from enforcing anv
      hcr:::.J..ndcr arid sbal! n;./r n:ohibit
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                                               _,         -
                                                  rights or remedies that Lessor mav
                                               Lessor from charnin~
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                                                                                       have
                                                                           Lcs.Sr':!e anv"' late chara....es
                                                                                                        ~


      pursuanr to Anic!c 17 :1cn::of or otherwise wider this I.ease up,m Lessee's failure
      to pay Fixed Rem.




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                                                               ARTICLE 4
                                                    l\ET l ,EASE; ADDITIONAL RE~T

 ..+. l   Triple Net Lease. It 1s che imention of Lessee and I essor that Lr.is Least shat! be
          an .:ibsoiutcly net !ease. such i:hat all onligacions \-\·it'-1 r~spcct to. and all expenses
          relating to. the use, mv11ership, occup<ll1cy, operation, maintenance and repair of
           tl1e Premises, shall be th~ sole responsibiliry of the Lessee and Lessee shall pa) all
          such costs and expenses whatsoever, including, without limllalion. ~II utility ::md
          etc\'::nor cosrs, re~l estate and related tJ...\cs :md ~1ssessmcnts. waler charges.
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              ~v.._ UJ:t v ,•...,.,. ,,,
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                                                                                                                                             ·v1\ LU   .   S>'" ices
                                                                                                                                                      L.U. • _           ._..._ .1 l'.1.   ..,



          wiuc1: Lessee !cql!lres w he delivered ro the Premises. Lessee: shall not b<.: liabk
          !ix :inv state, loc;'.l.l or tede:ial ·ncome. ;ax µ<1y:1ble by Lessor as a ¥esuh of !he rent
           1t ".'-'·c1ves from L:-:::se-: hereunder or (kb~ sc;--. ic;;: ~1 lyar·k under tcssor·s
           mc;ngag·~ J.ebt. Lcss~c ,;hall pay as "cddnionc:l rent. and di~,ci1~1r~:c s:.une before
          f::ulure iO nav crca'.e~ a rndtcrial risl-: of forfeiture or .::enalr\ ,·a._.h ~nJ ;.'\·ci v ;tern
                                  .!   ""'                                                                                          •            ..                           ..


          c1f expens'" of cvcr-y kind a:nd natvre wharsoc•.rc;·, :·c!a£cd o ()- arising from the
          Pn~rnises. 1J.:: bv r¢~~on i)f 1.)f in any m2.rm~r c-.ir:.nt:L:;;;(i y-..iL. or an3ing from tht-
          lea.sinz. ouermion, m:4·~;igemcrn, mairuena.i1c:c~, rcnair, use. or occupancy of or
                       ....       J,                                    ......                .                                 l                                •   •


          ?vfodiric1ii-:ms affecting. the Prcmisc-S. Lessee ;;h:.il! prov1d,~ 1.:.:sso,· with evidence
          of Lcs:-.::'.e ·;, p~ymcm of all r.:;:il es:ate and related -caws a:1J as:::~ssmcms and all
          .                                  .
          1!1.S\...'."JllCc pr>:'n11Ul11S \\1Ulirl ~
                                                                  . . . ·o·· \.;ays Oi ru::SS(.::' •s payment tncrccL
                                                                                       ...!               ,.   .    .  •   .,    .
                                                                                                                      Upon Lessor :)
          rca.scn~~blc                 r;:;que.st, 'l.e;.,See shall proYilic Lessor \Yith ..;\·iJ.:-n:::c c:tf Lessee's
          p~i}TileiH c)f ,my om.::-r cxp2nscs r.::lating to rre Pn:::-1.i·~<.:s .

..... _   Addirhmal_F.ent.                                        ..1..Il of the: foregoing expcnst:'.s and fees refrrred to in
          Scclwn 4. l her co r· sh,:l i be deemed additional rent and . ri.)twnhstandm~ the fact
          ~hJ.t th,~v md v n0t be pavabie direct!\· ro Lessor. shall be ~r.;:ikd 3.S r,~nt oavablc
                              ,         p                     •     •                                 •                                                              ..            •




          hereunder and fmlurc of l.Gssee to pay any suc 11 sums shall h.: dcc:meJ a f'1ilure to
          pay r<:nt h::. reunder :1nd c·ntitl'- L('S~t.)r tC' a.!J rig.hls ::.nd rl~n1ed1cs thal it has
          hi.:·rcu1ii.i('r \Yith re~ncc.t to the failure of LeSSi..~'-> tl) lJay fixed Rent.
          >.oi."' i1.'.1:::«1.n.Jin~- th;.. for:.:guim-;;:,
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                                                            Lc:ssct· shall h;tve the n~·.ht
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           faith . a oayrn~nt.           due to c: third "r1:irtv and Jr.v- ~ucb fa1~ure lo::; n::v     . .· an a.oou;1t \\hen
          du.: ::s ~~ n:::::ult v1 I c~S<;;'e. s <;;';'\;!l'ClSC of sw.:h righ• or :.':l)'l!t::.;l sh3ll fa)l. be deer:1ed a
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           ,·ailure to pay hereunder. In the event Lessee dispuks a .:har.::'.:..' due and pay;:iblc to
          L..:s:-\.1 r, Lcss~e sb:il! he entitled h) make sucb pa>1nen: unckr p:\~ttsl to Lessor anJ
          such payrr·~~nt sha!1 o;; rrn.Jd·.; \\'ithoul prejt..dic~ w a:iy nght of Lc:ssec to dispute
          :!i'V it('r't t!>L'It:'co'frl•c biJkd pUISl'.Q.nt t0 the provisil)rJS ,:•f . ~!13 $~..::uon                  lf it is
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-L3       Direct P:rrm"'ilf b..- Les~or. 1( <J.t1} add1t1ona1 ;:·cnt DillS! b~ p~lid cir;:;ctly by
          L::::sso:·. then: {a) Lessor :tppoints Lessee as Lessor's an. . .imey-iH-fact to mike
          such payrncn'.: :1I1d l h) i r the payee nc:-' enheless r-::·fus~~:-; to acct~pt payment from
          Lessee, then r~cssee shall notify Lessor and ::.hali pay such amo:mt 1·0 L::·s.:::vr in a
          rin1:::l;r' rn ..:nncr \Vith rca.sonablc :nstruct1()ns on r~n1it1;;u1cc •.:»f sue}' pa_yn1cnt.

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      Lessor shail with reasonable prompmess comply 1,viu1 Lessee's reasonable
      insrruct1ons

4.4   Nq_Offs1~~. Lessee shall pay all Fixed Rent and additional rem \Vithout offset,
      dcfons~, claim, counterclaim, reduction, or dcduc1ion of 1i"1Y kind whatsoever.

4.5   UtHitie~. Lessee shall arrange 3.nd pay for all foeL gas, l!ghl, power, wacer,
      sewage, garbage i:lisposal. telephone, elevator a..r1d Gther utili:y charges, and the
      expenses of instalic.tion, maintenance, use, and s;::rvicc in connection >1. ith the
      ~o;·cgoing, for the Premises during the t.:"11. Lessor sbli haYe absolutely no
              -
      0bligatior~ L) provide anv of the foree.oins::
                                                   "-
                                                      servic~s nor shcdd Lessor be liable or
                                                                 ..;

      responsible> for the foregoi1g to :h;:: cxtcn: th::n L::ssee am.mges for such utilities or
                                                                                                      ~




      s~rvic~s.


46    ;'\1aintenance Reports. Withi::i 20 days after the ome v·:hich is six months afier
      the Commence:me:it Dme~ ax1d within 20 d2ys of the end of" t:2.ch subsequent six
      month period, Lessee shalt provide Lesso; wnh a r=.port describing ar1y
      rnaint·~nance conducted at the Premises, including bot<• o::dinary and extraordinary
      rnainrcr.ancc, dw·ing suc·h previous six month period and the :oscs thereof At the
      request of Lessor, Lessee hr:.reby agrees that lessee 0:- its qualiiied :representatives
      shall meet °'°'ith Lr.':ssor o:: ii..s repre.sentafr,es every six months dunng tllc rem1 of
      •hi       ·:: L<>:~se
      -.. J.......... '-·-•...           Tl)      d:SCl.1$'-'
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      mai.;itenarce, axia any i-Vi.odifications scbt~dukd to b'-: perfonned or expected to be
      pertt)rn1cd at th(~ Premises during the ensuing six mo:-tth peri,)C. and the t'Stimate
      of the cost of all such maimemmce ~md .M0difica.tions.


                                                                                      ARTICLE 5
                                                                   LETTEF OF CRED!T

5.1   J.etter of Credit. On th.: Comrnenceme;1t Da ~ e, Lessee- shdl deliver t0 Lessor an
      ur:conu.itional, irr~voc;:;.bi.': mmuaJ letter of c:cJ1t (he•eaHt::r referred to a.s the
      ·Lener of Credit".) in favor of Lessor ir. th(; Z!.moum of                ~Jc is~ued by a
      hank 1)1e "B<mk.') who has a net \Vonh cqu::i.! to ::it lea~ fl ,OOC.000.000 00

              ;~.! the end of eac:    year period of this Leas~, including dnring the First
      R:enewaJ. P·:!riod and ar1y subsequent Renev·:al Period. the <unount of rhe Letter of
      Credi! shall be increased to




                                         L.LH..    1Ul1J.l4l.lJ.V.iJ.t.      '-'·l.


                                                                                         ...
                  -   _ _ ..,• ..,-..1
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 Letter of Credit shall secure . the fulfillment of all of the obiigations of Lessee~




 under th.i.:> Lease including. '.vithout limitation. Lessee s obligation to pay Fixed
 Rent and any ::.dditional rem lthe "Other Obligati\1ns").

Less'-)r may i.milatcr:illy dr:i\.\. upon r.he Letter of Credit in ihe foliowing cases:

 ( i)
          Rrnt by Lessee or any third party (incli;ding but not limit;;:d to any ll1ird
          .
          oanv. -~u.:.ranto, ). wh tch raihrre remains u•icured afte: the L1pse 01 a tenn of 5
          (iivc) business days !Tom receipt by the I ess;;c of the Fixed Rent ~otice; or

 (ii)     upon ~my failure to make any paymenr by Lessee (including but nOl limited
          ,o ~my third party guarantor) relative rn any of th::' Other Obli g uions. as
          i01lmvs:

          (. .ll   if the Other Obligati0ns rcmam unsatisfied aft~r lhc:' lapse- of I.)
                   (fifteen) busin;:>ss days j·or:n re;:-~rpt by lessef Oi- the :rn1icr from
                   L<.::ssor r,ori(ving Le;.,:;;ee of 1ts tm:ad1 uf J.Ov 0C ln'- O~her Obligations;
                   0r


          t b)     sho:• Id he pro\ '.sions of this L;::ase pro\ d;: fr1r ::: bnger tem1 for the
                   L:ssc:e w fulfill any pa\TilcBi obii~ation rebtmg <o ~my uf thi:: Other
                   Obligauons. up·:in cxpi~;itir'n of such longer tem;: for the avoid311ce of
                   J.ny doubt. t.ft_;r the lapse of Sl'ch long..:-r term prnv :dcd for in this
                   Lc:1se, the T_essor \\'ill be emitkd to drnw ::my ~:mount due for such
                   Other 1.)bhgauons upon the Letter· of Credit on the L)asi.s <md upon
                   <;;ubrm.;sion ro th: B·mk of the notice norifyit:g ;..,,essee of its breach of
                   any of the Orher ,)bligations, as prn,, idcd in ct1l' rek• a.i\t ,-Jnuse of this
                   LcJse.

fo tb:: c:'> -:ill. rh:lt Lt:c T.c-t.rer uf Cre1.h e\:p:r{'.S prt.}r tl:> th::: cxpir::n::>n or earlier
terminac!on ,){this L<::asc, Lcs_-;ce shall renew ()! rcplucie the Letter of Credit, in
t 11c ,:J.nwums requlred h'~rel1mkr, at k:tst l () busin(;s:; d~1y'; pnor m such expiration
so drnt :he L.?ttcr of Credit .shall be in iull force and ~ffc.:-1 durint: Lhe entire tem1
   ••••     '!'

Qf t111S --..:J.5C.


The :..;:-tt..:r of Crec1it sha!i be re ie\'. i:d by t ~,~,;<. inc.~~'-' ~lf r::nc''-' 1.d 1.'t this Lease.
upo11 the sarnc icn11s ant! cor1di ~iors rncnti'-:r1~d above

ff LJ\..SSGr make~ an\' ~)UCh dI'Ci'.\. 0:1 th~ L.cttC( )f ( .. rcdi1~ r cssc:c ~~t1tlH be obligare~i
                                                               1



h) t~~\:.c ;·11: n;:~c~~ss::y J~clon to restore the L~...::trcr f~f C>-~dit t.:..1 rhc fuH arnount
r~quircd pu:-suam w th:.:: provisions of this ~,ccuon wilhin 3 r.10nths afler the date
such unsatisfied ohli£:nion
                       -      vf L:~st:e th;ir tri<:?.!:!er:::-d Lcs::>or to dr;w; upon
                                                         '--   -                    ,.
                                                                                         thl! Letter
of Credit became firsr du(; ;md p3yabk Ul1der the lcrms c·1· this Lease. With
resocc
   ~
         to the date FixeJ Renr becomes first due a:1d .!""n.ivable,    ..
                                                                                !he o,mics herebv
                                                                                        l                ""




                   -
~1cknowlcd!:!;c rhar such date is thi.! first d::iv of each co.h:nd:1r montl1 durim.; the tem1
                                                     .                                  -
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       of this 'Le2Se. Upon expiration of this Lease. Lessee ·s obligation to provide the
       Letter of Credit shall tcnninatc.



                                            ARTICLE 6
                                             REPAIRS

6.1    Repairs hv Lessee. Lessee shall maintain and repair the Pr:::mis,~s. both exterior
       and inr::nor, inciuding, without limitation. all Buildi!!g systcrr:s and structural
       repairs including mairncnance and repair of the roo1~ fa<;:ade. foundation :my load
       bc:aring wa!ls and afiy p'.112.fs. If Lt:ssor allows Lesse;: to i::rect on th.:! outside of
       th": Pr~miscs a sign or s1gns, Of a hoist, !ill or siJ~walk elevator, Lessee shall
      mamt2:r: such cxt:::1-ior installations in good :.!ppearancc and shall c:J.use the SJ.me
       ro be operated in a good and workmanlike manner ;:ind in compliance with all
       applicable laws and sh<lil m:i.ke all r~pairs thereto necessary to ktep same in good
       order a:-,d <.:ondition. ~t Lessee's ~)\\-11 c0s~ and e·,rcn:-~. rmd :;hull CJ.us.: (12 sarn:~
       to b~ rnv~red by t.he insur<illce provided for bcr~inufter iu Art:cle 9. l e:;s·~ · shall.
       throug;10ut th~ ten:i ._1f this Lease, take gnl)d care t1f lh..: ?rcm!s.::s and ..:1c tlxtures
       <md appunenanccs tht:rc!n. and the sidcv.·a1ks adj ac~m fr:ercm, and at its so le cost
       a.nd expens,~. make a11 rep<}irs thereto as alld when needed lo 1ne~i..;rvc them in
       good •vorking ord.:r 2..'1G condition. reasonabk wear 2.nd r.;;-ar. ~~bsokscence and
       d.um. gc f:om the ~lemrnts, fire or ot£1er casualty, excepted. Ir the Pr·=miscs
      [l,·com-:-!i infested with vennin. Le:::see shall at 1.e;;:;~.~·s cx~ien:s.:!. c:mse th::: same
       l:) be extermrn<:ted from tim~ to time co rhc 3t1tisfact10n of Less1.w. TI1cre shall be
      no a1lov-«mce to th~ Lessee for 1h1~ diminution of f{;THal vaiuc and no iiaoiliry on
      the pan of Lcss1:>r by r~ason of inconvenience, annoyance or injury tu business
      aris;ng fmrn Lessor, Lessc:e 1.1r others ma.1-;:ing or failrn.g w make a.ny repairs.
      •dter:u!ons. Jcld1ti ..1n;:; 01 improvcmcms ir: or to ai1y portion of the Premi1>es
      im.:ludi~g the crccticn or operntio:a 0f aily crane. derrick or sidewalk :>h.::d, o·· ·n t•r
      tc ir:e Bui Iding or th~ fixtures. appurknances or cquipmen: thereof ui:kss caused
         1


      p•.r Lessor's gross ricgliue1v:~ or wi!lfUl misconduct. The movisions of this
        ..,              -        -   ._                                           .I.

      Sectior 6. J with respect to the making of r:::pairs sb,dl 1101 applv :n the case of fire
      or other .:-asu.ilty or co:1d~amat:cm wf>jch arc dc.:lt wi1h m Anicles : 2 a.1d 13
      .       ~


      .1ereor.

o.2    Lc~see'"'      Default   ff ~e.ss=e 1.:: in br.:;a::h of its 0ti;iga!ions l!!1der Section 6.J
      ..:.l.h1\·~ and ii do~s ·1ot c..ire st 1 ..::h liefa~1lt within 60 days a.f':,~r re~eipt of~\ wrim·n
      notice of defot:lt fr0.11 Lessor to Lessee, or, in the Ccs~~ of cJncrgcnl'y such shorter
      µe:icd ._,s is r~a.sonab!::- under th~ circumsrn.nccs. then Lcssm· shat! be entrdd. but
      r...it obli:~:ited to Daforr'
                  ~         '
                                      ::il~ Wt..)rk and cha;-gc
                                                             w
                                                                all reasonable and docume:-1ted
      expenses therefor to Lcsse<.:. Lcsset' shall reimburse Lessor for <t-'1Y 2moums
      cxpend~d bv Lesso; under t!"li~ Section 6.~ Jpon request by Lessor. togcthe' with
      evidence of the expenses i ncum~d by Lessor. 1f such ;.u1101111ts .ire not paid by
      Lessee wi~hin 20 davs   - of demand by. Lessor therefor. from 2.n<l after such 20tr. dav...        )




                                                  10
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          sLJch amoW1ts shall earn inkrest at the rate :..1f "'prime·' LCitibank) plus -J.00 o.n.
          i:ntil paid ("Rcimburs~rncnt lnteresf').

6.3       l<n1ercrenn Repairs :t-.:onvithstandin2. th:.:: forc£oinY. provisions c.f tl1is Artide (1 •
           • .,J       .....   •   -                          -           -        .._



          in case of imrninent danger to, or der[ving frt)nl, :::..ny stnic:rur::li part of rhe
           Premises. Lessee sh::i.11 promptly noti!~: Lessot anJ Lessor shJ.11 be c:ntitlcd, bu[ not
          oblig~1ted, w perform an) '.VOrk necessary in order to remedy the ,fanger ii Lessee
          fails to commence rhc work necessary w remedy t1 e danger within a reasonable
                                                                               1


          period of r~mt und.:r the circumst,mces. All reasonable docu,11ented costs.
                   -
          tog,:d1cr wilh ReimbL.Tscrncm lntcrcst shall be reimt>•1rscd h·             . Lessee wi:hin 30
          (by;; after 1eceip1 o' a 1,.ninen demand therefor irorn Lessor. Lessor shall have the
          '<"'.::1 1-.:· ng.br:c: v:ith rcspccr co non-stmcuira! \\nrk: \Vbich poses :u1 1mminent danger
          to 1ik and property.

6 ...:.   Rent Abatement. Lessee shall not be entitled m J.ny ;:ibarcmc:u or Fixed Ri.'.nt or
             . -i· .
          aaunonJ1      '           .
                          n:nt or OtncT     i.
                                          C1t<..ugcs      ,
                                                         srh.rn Id tnc
                                                                .•  ' 1)· rcP11st:s
                                                                                 .    ,        ., • ,
                                                                                      oe umn <:tt..101e.        •· •   ~
                                                                                                         rcgan.H~::,s or
          the Juntio~1 Gf such unavu.ilabilily or t~·1e size of space un:.waiiabk. in connection
          '':1 c.1 strncn1ra'. \vork or other rcpaic ocrfrinnt"?d b;. Lt:-:sec>. or rn the c:ise of an
          ~m~rgcni:::y . b:, L~ssor. Lessor shall han: no 0bligatwu ~o reimburse Lessee .for
          any .::osts incurrct~ or prc•fits lost a..:; a restdi: oi' thr: Prcrnis.:s being unarni!abie in
          c.-..mn-:ctiJn \·iith srrucn.i.r:il ,;,·or\... 0r Nhcr n..:>.::c:~::.2r.: repairs.

                                                   ARTICLE 7
                                               ALTERATlO'.'i'S

7I        Strncturai Alteration.s. Lessee m;:;.y r.ot perform anv modificatiuns and/or
          <i...iditi0n:-; i:o the s~rucrural pan:s of the Prerr.is:::s including, witMLlt linntation, the
          fri.\'.:hi•..> :·nd Building sy:s•ems of th:> Premises (r.:Pil~cl;vel;. for pw-poscs of this
          ,<\n[ck 7 ;1crcinafrer rdctTcd t0 as the .. Srrucrnral Mod.ifica1ions'·), vvilh(rnt the
          pnor wrict.:n CC·«is,.::nt of Lessor. witich corosent sh:Jl! not be unreasonably withheld
          or d~!ay.:<l: provid:.::J tha.~ suci'. conse.m shall be conditionc?d on L::sse~ agree ing
          t!1~n Less::.:: shall (i) prior to commencing any work, deliver w Lcs:wr copies of all
          required p.:rm!t.;. co:1s-:nts ~nd licenses i:1 Ci.."'rtncctiot: ·wllh ~:u-:h \'"IJrk: (1i) deliver
          to l ~ ~~5lJf ~~or 1t~ r·~\ ic\, .. _:.nd \\here P~quired hc_ret!.ldr::. !ts apprl)v~.l the plans and
          specific:.ltions pr.:parcd in connernon with the work to th:: ex1;;:nt such plans and
          spc.::ific:::it;ons :.m:. J.~:ai!J'')le· and (iii I upon compktion of such ""'1rk, deliver to
          Lc:ssor tir;.di "'a s built .. plans for the work to the extent such plans ar..; :l\aiiab!e.
          [..,cssor' s priN \\'linen consent sha.11 be rt;:q uireu for the install mi on of signs,
          antenn.:::=; , ~-crnlwablc ba::.cs \.1r supports, or other rc:rnLH'able app2.r.ims (mciudmg
          air condirioning systems and anci!lary cquipmcnl). providc,1 tha• such consem
          sh::il! nor be ume::!Son~bly \vithhcld if such signs. a.ntcl!nas or ;ipparatus \i) do not,
          or'' ill rmt upon remov2.L affect th~ stmcture of the B~1ilding, (ii) ;:·omply with all
          clppiicabk ]av. S mld regul.at1ons, and \iii) have hem apprO\b.~. if fc'qui rcd, by ::ti!
          apphc:ible governrnenul authoritic:·» 1.-:ssoc hl:rcby agree:; that any signs,
          antcw1~1s, rcrno\ abL: ba.~1:~s or supports, or other r;::movabl..:- appar:irus (including
          air •.:or ditiomng Systems and anci liary equipmc:m) located in or at the Premises as
                                                         i1
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        of the Commencement Date of this Lease a.re deemc:d approved. All Snuctural
        Modifications and .-,-iy od:~r modifications refen-ed to above shall be made by
        L~ssce m compliance with the quality standards for building modifi::itions
        adop~ed by rbe Lessee and corfom1ed to by Lessee or :ts affi!iatc in con11ection
        wi~h the cccup::mcy of the Pr~mises prior to the commern.:cmcnt of this Lease; it
        bein~ undo::rstood by th::: parries r.hat Lessee slul1 :.:on:im.e to rnJimain the
        Premises and n: ..:.ke any lvfodifications pcmutted b:::reunde:· in the same mannt:r.
        and i11 comoii·-'"l".e with. the same slc.J1dasds. as Lessee adhered t~) when making
        anv.)
              mGdir!cnth.1 .is or rcnairs'         to the Premises as the or.::viou~ O\\·ner of lht!
                                                                          .
        Prer:1i~1cs . Lc~s::;e~ sh::l!l be responsible for a!l costs mcun-ec.1 by Les.sec m
        G)[u;cct1on '.Vith any Srru:tural l\fodificanons pcrmi:tcd bv Lessor and perfornh~d
        by Lesse.: and fo.- <'.ny m_iury or d.an1:ige, 1f any. C:lused to the P:·emiscs. the Lessor
        anlL'Dr third parti.::s .:i.s a !-.:s·1lt of axry Sm1cturn! Mod1ncat10.l1s, :is well as for any
        br~ach of l<nv. i t1cluuing cm ironmental laws .


.. "    ('.on-Structural Alteratitms L~ssee shal1 r...:: emitied to make, wtthout the
        c;onsrnr of Less.)r, a.1y modifo::atio;.1~. odd.itior.s. :epan..;, c:i::ngcs, or other \.VOr!~
        ,::.nJ/0r consrr~crion which:

                O        inv0:ve !1C·D··stn.:.ctural porticn!' of the Premises: or

                (ii]     which Le:;sce cice.:ns neccs~ary o: usefu: in order t•) cornpiy \"~th
                         apµlicabk Jmvs or regulations or lo S<1ti~ Cy aEy b1.1sim:ss neeu., of
                         Lessee. providc-d tha. :J.ny work douc un,ler fai.s Section \vhich is
                         dcen:cd S:ructural r-.,fodific:Hions shall require the pnor approval of
                         Lcc;sor:



        All Non-Structural \ lodific;1tions she.JI be made by Lessee in c.:omplianc~ with the
        quality s·i:a.::d;.i:ds for buildin3 modi ~cations adoptd bv the L:ssee and comormed
        ro hy L~ssee ,;r it.s a.ffilia(e m c,mncctior wi!h tb~ l)ccup:rncy e:f :he Premises p1io1
        to the i.:l~mmt:nc.:rncnr of this Le.tSe; i~ bemg und2rsro~)d by the parties that Lessee
        -=-hall C1)nti1:t.e ;o maint:Iin the: Premises and ma.1'~ .i.P_\ !\fodifica!ions pem1itted
        hcrcundGr in tbc sar:tie manr:('r, a.nri in cor.1pliance with the. s:'.lTlc st:u1d:.:.rds. a~
        Lesse:; <:.dhered to v:hcn rnaking any moJinc::tioas or r,_,p;~1rs to the Premises as
        the 11rc' }oJs owner of the Pre1rnses. I .l~sscc ~~hall pay all co:> ts incurred rn
        r:onncction with any Nor:-Strucwrn1 Modifications oer1onT1Cd by l c:;see.

7 ..~   .Ge..!1er:il R"quirements . Ail work pcrf(,~1::d by Lessee. as may be permrneci by
        this L-::a~~ or with t!1e approval of Lcs:.01 shali be perf1.m:ncd hy L-:ssee using
        sk"lled 1..onr:actors and in compliance with "11 :.J.P!Jhc2hi~ laws, rn1es and
        n:gulauons ~•.11d in compliance "v:th the qua!:ty standards for building
        modifications adopc~d by th~ Lessee 3.nd confo~me-d to b: L.;:::sc.: or ics <J.ffi!iate in
        con11ect1on ;vi<h tht> occupancy of the Premise:; prior to the conunem:cment of this
        Li..:~tse; it being understood by the panics that L1.~ssce shall continue to maintain
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          the Premi.:;es and ma.kc any ~ lodificarions pem1itted ncreunder in the same
          mm-.i.ner, and in compli<mce with the sa..-ne standards. as L~ssee a<.lherc:d to \\.·hen
          making any modifications or repairs to the Premises ~s r.hc previous O\\'ncr of the
          pr,~mises.    ln <ddiuon, all vrnrk undertaken b:>' Lessee hereunder shall be
          prosecuted to compktivn in a diligent and continuous rrnumer. L.~ssee shall gi¥e
          Lessor '"Titten notice at least 20 days prior h) Lhc cc'1ri.rnenccmcnt of a.ny
          ~fodifiCJticn t·J the Premises \or such additional ,i me. <iS 1ay be IJecessary under
                                                                               1



         npphcabie Lnvs) t0 afford Lessor the opponumtv of posring and recording
         :::.pproprt3.tc notices of non.-rc-sponsibiliiy.

7.-l     Lessor's Cooperation. Lessor agrees to coupernl.: \vl~h L~sscc, at Lessee-·<:;
         expe;1se. in obrnmrng frc~m any gov~rnmcnlni aut " 10"1~ics ;;:.ll appro\ u!s necessary
         frn an: Strucrurai ,\fodifications tas pcrmiH:::d hen.'tmc.kr) or ·\"on-Smictur:.il
         1\fod!fi.::arions (hercina.ftcr referred to <:.s rh~ •·t-.fodificmions") .

., -..   P!ooert-· 0f Li:ssor. Lessee mav elt.:ct. but shall h~vc: no obtif.':rnon. to r~store the
         - --··            -   ·- -             J                                  ....   '

         Prem·s~s 10 the 1-'.0ndition i?'.x1sting before tlie Modiricauons, except that Lessee
          s!·1ll ' ' rcyuircd IO remove a1l signs and orher items rderrLn!-! kl Lessee·s
          tLti ..::~:. ·"\~ or be:ir;ng i..:sse~ · s trG.dcmt',rks from tlh: ?1.:miscs and rcst~"lre th<..tt
          pon c:n or· the- Premises dm11aged hy such signs an,i other items refemng to
              1


          Le~::; cc·:-: trade~iamc or bearing L-;:-ssee · ~ tr ..de1:1arks to th"· condition of i.hc
          r<::-maind-:r l;f the Premises L;::ss;;e shall be rcsp ..)r:s'.bk ~i~'r a!1 costs of removing
         Si.!Cf' signs and other items ;.u-;.J any damage inc~1rr.::d by L·~ssor as a r~sult       o:   such
          ~cm1.w,d or fa!lui-e to restore tbe Premises. ln the n er•i L':ss~::- dee Is LO remove
         :D\ \!.:)difi.,:Jtio;:s. :ind ~o reswre the Premis;;:s JL the e:\?ir:'.t:on or· this Lease,
         Lessu:: shz.il he r..::spons!blc for z,ny and all damages i;icurrcd by L:ssor as a result
         o: st•d: r.:movr-.1 or failure to tcSuJrc the Pr;;mi.s-:s. If Lcs:>cc ckcts nm to remove
         su.::}·, ;',k.,di fic:llle.'nS at cxpirati·,)n of this Le~c, such i\1ooi fi.:.:tions sh:ili hecomc:
         die orc•T)env
                 '    t     ~
                               ~): Lessor and rn no event shall l.c:'S01 b:: rt:.uuired w reimbur::>e
                                                                                    l

          L:;ss·~c fo:· t:1e cost of suc'.1 \1odific:iril'tb or rnal:e :.1ny paymcm to Lc;:;s,:c in
         ..:onn-:-ct:on '-" :Lh ~;u;: h ~fodifo.:aii0ns.

··.6      _'.'to Consen\ to Lien !\OT1CF IS TfEREBY C.!J\T?\ ~EX!' LESSOR SHA.LL
          .'.\(!I B'.:' LL.\BLE FOR.-\\['\' LABOR OR \I ;TE.RL\.LS FCRNIS.HED OR TO
          BE Fl KNTSHLD TO LESSEE l "Pl)i\ CRED!T. .-\ND THAT NO
          \ff CH." 1\~CS OR OT!-ICR LIEN fC)R ANY Sl.'CH l A.HOR OR .\·iATt:RJALS
          SH.\L. / _'. -;.·_..\Cf-l TO OR A.FfECT THE PRE~1ISES ~OrH~:\G lN THIS
          [...EASF. SHALL RE DEI::iv1ED Oi<_ CONSTRUED fN .\VY \VAY TO
         CC1NS rITUTE Lf:-;Sf.'iR'S (. ONSEN r OR REQUEST. : "XPRFS~ OR
         f\iPL:::"::D, BY !l\i·FRFN"CE OR 1JTH:t:R \VISE, !'O A\Y CO'\TR:\CTO.R.
         SCBCONTRA.C'TOR. l.A80RER. EQt;IPMLNT OR rvtA TERI.-\L Sl.JPPLIER
         i="OR THE PER.FOR!\P,~CE OF .A..!~x· LABOR OR TH~ Fl'R?-\ISHr;'-7G OF
         .,:;~~\· ~\fATERl.•\LS OR EQt~IP:VfE?--:T FOR AJ~Y CO><S rRUCTlOl\, NOR A::i
         G!\1 fNG LESSEE ANY RIGHT, POV/FR OR ."-\UThORlTY TO CONTR~CT
         FOR. OR PER..\LT T!iE RE"IDERING OF . .'\1\ Y ~ER \"ICES. OR THE
         FCR\lSHll\G OF .\>-\. :.1ATERl\LS THA.T \'v"Oli1.D G1VE RlSE TO THE
                                                    13
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         FlU>JG OF ANY UENS AGAINST THE PR.EvHSES. LESSEE SH.-\L L
         l)" . 1..:.1 ,. •" _,. I LE''S"n
         -,._·-or\1'-'It.'"                       ,'"'\..!<' s l .A.l"
                                   _:::; Ci f\. AGAr-··'-.         , .,,
                                                                       ! c·~),"LIR          '-· l i' .....T"1D
                                                                           \.): ' '') • L.'-r•T"O":
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                                                                                                           ~' c....RT"KE"N
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                                                                                                                                             A                                           I


         BY LESSEE OR A1'f'YONE CLAHvfING THROUGH LESSEE. A'.'JD AGAINST
         ALL PROHIBITED LIENS.

 7.7     Sidev..·alks. To the extent th:i1 this Lease r~quin::s Lessee to ma.inrnrn or rcp:iir a.."ly
         side\.>"aL'k., Lesse2 shc:.11 perform all obligations of Lessor \Wd shall indemnify an.d
         hold b.a.rmkss L-:ssor against any iiabihry under the applicJble municipal stanne
         relating to su..:11 n::p;!irs, J JJl} ).

 7.8      inrentiona!lv Deleted.

 -:-.9   ?re-Approved Modif:cations. 1\mwithstanmng ~mythn:; re th::: c~mm,..ry herein,
         L~ssN ackr101,,•kdge::; th:lI 1}-!e Modific:nions s;:;1 f<:.)n.h (\fl _$chcduk 1. attached
         her::to and made a pan hcrCt)f an~ prc-apprC•'- cd by Lcss~;r and Lessee may
         ~.-ommcnce 1)!" Cl'minue. as applicabk, such 0.-1od1iic~lions t ...> the Pr::'mises 1n
         c .:;mp!i2ncc with the provisions oft.his LcJ.Sc.
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                                                                               ARTICLE 8
                                                                                   ~CCF:;s

b.1      ~CCCJiS.         l~f't'n V/ritl2~ ret{UCSt Oi'" l~eSSOf. tJ be :]\C;l Li!1 ~L leas . i-:Ye businCSS
         .lay· 3 !ll·iticc. L::sscc s h2-Ji allow Lessor and its ~icnhcin~ .~d r, pr~scnt:ni ves.
         ;n~!ud1n~ Lcss"--;r~s l~n,ier ..~, a(;cess l\) u~~ Prcn1ist:~ during \)1Ji~1~~;.· office ht)tlrs \)n
         business days. in order to:

                                  e:-,::i.mine the condirton of the Prcmis~3 3.nd iuemiiv any repair
                                  work, lO i:'c-rforn1 an invcniv!'"\' ;)f the> ?rt"!mist:s :::.nd its couipmcn,.
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                                  ........ ,1.   ,_   \._       .."' ,...., ·,v1r.. 1·1 •h·' prt)\ l. '-'!"'Tl'-' n1~ th;..: L' -"'1:::-~·
                                                                       \...._• •    ~[      ~   l        I.   '-"   .i..   .....   .JV,.   ..J   ._.   ~~~4W   \.;,.~..., ........




                     (ii)         t~"' p...-:rfomi a.ny work ih::i..t may be or 111u:-;t b~ p:.::fom1r.:d by Lessor
                                  under :his Lease: and

                     (1i1)        co allovv potential purchasers of llie Pn:m1ses and/or p...itemial
                                  knciers or the- Lessor .o C\dminc the Pr<::m:scs.

          ln c-as(·s 1.vh~rc I essor b::licvcs that lhcrc i~ imn-;inc:n: (LJ1.~er ti) life or property
n.x~t!sc ,1r a ~:on.di.ion Lessor bc:Jie\·cs t~"J e:\ist ac the Premis.:-s. Le.;;sor shall give L:::ss~c
<..\n!y such n otic ~ :iS lS rea:::on<1(Jlc Lln.icr the circumsunc~;;..

~ ..!    .:.:\cress for !..r:s":nation.                      lessee shaJl :<1lcw Lc;:;sci~ rmd !rs ;mthoriz.~d
         '"·nrc.:.cn:n "'....,
         '". . . .               --.~,
                        ;v,"s... <1      : =s" to ·r•'e
                                    .... _""'u      ,1, i)r,~n11·~·'s
                                                           ""'
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                                                                 ~\... .. a..:-lt._U,...\.. .. '-- •) ~c:1.... ... .:i~u..~/ l 1 r,.,..,,t1 ..... ~~

         fulfill L.:>s:;or · s res.oration obligations under,\ nick l.:? h:;;r.:o f




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                                             ARTICLE 9
                                            INSURANCE

Q. l   l .. essor's ln.surance. At Les~ec's cxp\?nse . I essor shall s::cu.re and mainta1n the
       followirn:. - "'Lc;:;sor'.:; insurance·· at all times durin\:: the 1c:rm ,)(this L~a..st::
                                                                     ~




       (a)      corrt.-ncrcial general liability insurance (inciuding contracrn.al liability
                coverage r.:cogni1ing this Lease). in ciccurrence form. which shall include
                t.hc Building, \-,,,·ith c0ver:1gc 1i:nits not !ess than Si ,000.000.00 per person.
                per occurrence and '.i;2,000.000.00 in the aggregate, for bodily injury and
                d'.::ath. and for property d:J.mage occurring 011. unon, in or about the
                Pn::1m:,es or adjoining Slrect~, s1dcwal i-.S or passz,gc\1,·::ty": Jnd

       (b)      '·al!-risk'. insurance protecting against all r.sk of physi.::d lo.ss or damage
                to lhc Prcrnise.s. its fhmrcs and equipment. inch.ding fire. sprir1kkr
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                l c<u~<tg~, l:)ac1'up
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                stor~ frorH) co~:er:::ge and O(her hazards covere1.i •1ndcr the broadest form of
                crn11:.:rtv insLtrnncc covcr~:i.g~ used for simib.r tvne nropcnv located in the
                ...       ol                    .....                     .. J..    ..   •   "'


                \·i.:inity of thL" ?rc-mi.sc-s, in a.mourns not kss tha~1 :hr..: 0ctuat ;-.:p la.cement
                c~!st of the Building ::rnd such fr\turcs arid eqE1pment iocmed within the
                BL1liJin:;. without U..'1)' Jeduction for terrorism ,'•JVer~~ge or depreciation,
                suffi•:icnt to 'J.\Ofd co-Lnsna.nce o..nd ,,·'.lh "ordinu.nc:e or 1zm'· coverage:
                Sil i· insur.rncc shall 1nch:d1..' (A) coverage for '~'~nlos1on of st~am anJ
                pr~:ssur;; b ..11lers and simii:.~r app~u·atus located 011 the Prcn11scs; an
                ··111C:-c:i.3ed C<..'St of conslructi•.'n·' t::ndorsem.:nl: and <Ul endorsement
                cc,·-~ring dcmollt.0<1 .in<l cc•st of debris reno val. anJ (B) r::11c:tl or business
                interTupt!on msara..'lcc in an arnoum ·u k::i.st :..qual tO Irk' annual Fixed
                Rcni and additional rent and providing for 2. 3 (th re~·.) month extended
                p.c:-;,;d of irdemn.ny.

       l..::)   Fiooi1 insuranc~ m an amoum equal h.) lhe full ;!1surable va!ue of the
                Pr..-::m1s~s   or the maximum amount a"ailaole, '"hichever is less. if the
                T'r-!mis,_.:> :s io-:ateli in <J: area d:.:signatcd by the S.:-cr ·tan t_;f Housing and
                Ur+r.m Dcvcfopmem or the federal Emer,;ei~;.:y \1anagcmcm Agency as
                havi11:; special flood i1azards.

       (d)      Du.ring the period •)f any .:o!!strucrio-ri or 'e;:,tor:.rt!\)11 or tmpw\emems OH
                th.: L:md. l ~~ssor shall. or shall cause ir.s co.:Hra-:tor performing such
                constrn~tlo.1 or n.:st0r;Hi1.m. lo ob1.ain a.nd maintain J. so-ca!kd "'Builder's
                Al>R1s~ Compkted V~'.\uc·· vr "Course ()f Constrncticin·· ins1~.r~ncc policy
                i!1 non-reponir.g fom1 for any impr:>;.·emrnl:) under ~·onstruction or
                restorntion, includmg, without iimitation. for dt:ml1lition an1.. incre2sed
                C'JS! of constmction or rt:novation, rn an amou;n cqu;:il to 100%) of urn
                cstirn:ltr-~d repiac-:.~mcm COS! va!ue on the dJ.tc o - ,:()71plction. including
                "soft cost'. cover..igc. and \Vorktr·s l 1__)mpenszHio11 lPswan·.:t: covering all


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                persons engaged in such construction, in an a.'11ount at least equal to the
                minimum required by 1::tw.

9.2    Lessee':; ln.surance. At Lessee· s expense, Le~sce ::~t:dl .secure and maintain, or
       c;ontin'.l~ro mamtain to ~he cxter1t 2.lre~dy obraincd, t.he following ;'Lessee· s
       lnsu;c.nce"' at all times du.:.ring the term of this Leas:.-:

       (a)      commct·cial general liahili::v insurance, in \);:currencc ton11, insuring
                Lessee agclinsr any and all liability for injury w or death of a person or
                cersons, and for damage
                ~                    .__ to or destruction of vrcoertv.
                                                                     ... occasioned bv
                                                                      ~   .\.        .,. or
                arisin,:; out of cir in conn~clion with the use: m occupancy G.f th~ Premises
                or th..; husme.ss operated by L;;':ssee thereon, a.mi. ir.r.luding rnr.tracmal
                li:ibi!itv cov~rage for !.esscc's incieDuil~v oblH!?.~ions 1.mdi:r this L1Case \Vith
                         .J      -                          ~     -

                coverage limits not less than the amount of coverJ.ge L:·s~~e currently has
                2s of the Cominencemcut Date of tr1is Le~e in h.s ~)\\11 insurance policies;
                ~ld

        .
       ( o,\    a[-ris;,. msuran.::c c1.wering loss or J::i.mug~ t0 Lessec·s trade fi;.;tures,
                fomis!iings. war: co\ erings. floor coverhg:'. arap;.;s. equipment and other
                i:cms of pcr£.onal property l1f L~sscc.

9.3    Lcss0r l~ereby :.ifi:e-:~ !o obt:lii.: Lessor" s lrsura.Hce 11 ~om.:1en:ially reasonable
       r::..tc~. Lessee :shali reimbur~e Lesso: for all premiums :md other costs ;ela:ed to
       L,.;ssor· s Insuranc.: upon Lessor" s demw1d therefor and Le~see sh.all pay
       Reimburscrn 'n rmerest r~x a.ny .m.::h reimbur si::ment not reccl\ cd by Lessor
       \vithin 20 da.1·.:: of Lessor's Jerm.nJ Lhcr~for.

Ii.~   Each policy Llf ..... css1. r· s Insurance shall provide tr.ct the same shall nN be
       c.mcdie<l or mod:_- ~j ·sithout the consent of Le!:i!:-O!.. ;:. lenders except after 30
       d:ns· !)nt.'r none.:::: to L:sso:::'s ie!~de~·~- Sui.iJeCt to l ...:ss0r's lenders· right of
       c J~!s~nt, I e::.sor sh ail b.:: entitled to ncgoti:ite !n g•:}od faith any bcncf1c~ al
       aincidrncnts ft) Lessor's insuran.:c po licy, pmv1deu th:n, 11· such amcndrncms v\ill
       n.~sult in a substantial increase in rhe insurm~ce p1tmiums or suhst:lmia1 changes to
       the coverages provided by Lessor's Insurance. the p::nie3 agree th,:u before such
       a.';!e1:dmc-nts cai."1 be obtuned, Lessor a..11ci I cssee- mu:=:t have previously discussed
       at d agreed ro s'Jch cl:Ticr.mncms during good faith n·ego:i3tions between Lessor
       ru:d Lc,;;se~.

95     All policies of insurance carried by Lessor and Lesst~e shc.ll irn:ludc. if available, a
       waiver by Lhe insure· o~ ghts of subrogat; ...)n against the other in connertion with
                                     1


       any loss or damage theretiy insured against. Le~scr ai1Q Lessee \<:.nd their agems,
       empl,iyec::; or guests) sh21l not be iia°Jlc to each othe: fo.:- ioss or da.·nag-.: ::aus~d
       by anv r1sk cov~~rc.:c' bv .:;urh in:;ura.i1cc to th~ extent tha: policies <.u-e obtainable
       with st:ch waivtr of' subroga£ion. ff rhc rck·zsc of any pcrsm1 under this section
       con~ravcnes      any law r~spccting exculpatory t!grccmc1:ts. tl1e p~u·ty purponedly


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        r.ek:ised sb.::.l! rhn h,; r-:!lcascd: but snch parr(:; li:ibi!iry shall be st:condary tc1 that
        ot"the other pany·s insur..;r.

•)_()   On or prior ro the Corr101enccn1erit Dene. Lessor shall give Lcs:s.::e ccni ficates
        evidencin£ tb<n all Lessor's insurance is in full force ~;nd effect and Lhe exptrat1on
         .
        Gak      l)r.- surn' msurance.
                             .                At Iea.;;t .)" 01 d:.iys pnor. to L.1el        '
                                                                                            c.ate    ar1y poncy'.
                                                                                                                    or.- L cssor . s
        Insm.mcc: expires. lessor shall give Lessee certific:m:-:s evidencing renewal or
        rcpla•.:::emeru oi such polici~s. If L::ssor faiL:; to ~~''"' sue(,_ ccnificatcs or the
        I.cs;:;o .. ·:; lnsura,.,,c::- pl)] ic~ is tcnninat;:'.d for ~my 0tl1...;1 rc-:.1son. Lessee ma> . brn
        :;h::-.tl not be ob!igald to. pr1..~cure anJ pay ror the r(•rt('\\.,J! er replacement policies
        Gft~:- 5 t.izy~' no~ict· tli L~s~or . ...\c L.~s~or·s rc·. ·tu~5L ! cs~i:'C· ;.;hall giYe I ~SS;Jr :i tn1e
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        cop-:: ot• · any ccrtJriC.:te        01r ·msur:1nc~. ( ). n or pno:      •    t ..:' 1.·11c r\...o:rm1cncem:.:nl· I) ale .
        L~ssc,.:_; ;;.hall give l .:ssor certificates e\·iJ:.!ncing lh:H :.d l L~~~Sc(' s lnsnrance is in
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        bl! 101cc ~n,,_i e!:::;c <mn Le    ~-  h expir,ltlon
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        or·ior
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                   ~o   the  dak      anv
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                                            nohcv  "' of    I e.'iS~'c · s h;;:nn:mc.:-      cxv11-es,
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        Less.--r certi fie.Hes cviden,_;ing renewal or r~pb.:~m~n. 1.ir sucb} ·:>lrcics. Ti Le5see
        f~~i[s ill gi \e .;uch C'Cl1it~'2"J.I~S 0r th~ 1.J~SS:..c"s {nsur;:nc~ policv 1' rcrrninah.~d for
        any •)~~it:r reason. L~ssor may. bnc sh::;ll not be ohhg:ucd tc.. p-m..;u;c and p2y for
        ihl: r-:.ne\i.·QJ 1H r;:;p!J.~t:m~nt p0hc1c:::. .iL::::r 5 days· n;:it[.~,: w Ltss~~ and Lessee sh::tll
        :eirn.h~rsc· Lessor for any arnt•unts c'\pcndcd in cor;··1ccti0n \\ i,h d)(aining or
        rcncv.·ing L~s:::;-::c·s Insur2.i1..:c . .\1 Lcss(:c·s rc4uc-.;t. 1.c:>sor shall givt. Lcs~ce a tn1e
        :c.i--Y . 11.. any ccrt1ficJ.te of ~n$urance.

9:      i'Je.'thcr T,e;-;sce nor Lessor shall se.:ure S'~par:•te insura:1cc co 'CUm~nt [n fomi or
        l.:Llmri1-uting in th.:: cv:.:m of loss -.\Ith an; Lesso:· s Insur~mc::' policy n.:quireJ
        ti:hier th;" Lease unless (1) L::.;sor and Lessor·~: Jendc: s arc illcludcd as addiw.mal
        ir~sar~cb <lllu (ii) su~-!1 s..::pa:arc insu:arn.:c shal: '10t in any way dimmish or interfere
        w1th th..:: <.:bil!ty to m1>tkc claims under the Lessor"s l1:s .•r;:i.ncc po(icy. Lt~ssee and
        L.~ssor sh,_d l ~i~ c th~· nt 1c:r ,.F1d Le~s8r ~ s lenders \\ ~-~n~n notic(· rron1pti y upon
        :oecuring a:1y ~uch ~ep,u-;.u,~ insurance. spccif\fog th~.: m::;ur~:r :J.HO foll p~1rt[cu1ars of
             ..
        ::oo! 1cD.b k 'nol ic1c:-:.

'I.<\    Neither L;;sse(' n0r Lcs:;or shall d1J ,)r permit :m:y ,.ct or thing wl!ich \Vill (a)
        .ir1-..""'!hJ·1
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        '1liF
        ,t-       ''\.' .. \:1')
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                                   . ,..  .1,.,.J a'"')"
                                          H'iih     l!   ;!'S'Jf"'n·--'
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         fi-t)m ootaming insurance. ld) incrc:.se the cost5 or casualt1,r or li::ibiliry insurance
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                          ... or le) .;;~frJiect
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                                                 lessor ,1r Lessee le) d:u11a12e
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                                                                                    or res1Jonsibiiitv. for
        in.jury to ar: v person or to propcny.

9.9     Each habiliiy LesSi..)r·s lnsuranl'c pohcy shn~l 11ap·;.·~ Lesst\\.~ :tnd cac11 rno:-rg~g~ee of
         L.:.":;0r as a.:1 · · additi~·in,1! rnsured .·· Each riri..10(.n\ LcssGr·:; lrLSUe<tncc r)\. 1icv shali
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        name tessor as loss payee <'-S its rntcr~st may a.ppeu.: :uKi ta-:-h such mortgagee
        under a standard mincontt ibuting mong2g..:c dause. b1ch liabiI1r: 1 cssec ·s
        Insur:incc pv!icy shall nn.me Lessor and each nwrt;:J.gee of Lessor as an
        ··add:tional tn:mred.'. Each propeny Lessee· s Insm.:mcc poi icy shall name Lessee
        as loss payee as its imerest may appear.
                                                                                      17
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9. !{)     /\ll Li:!ss~£s Lnsurancc policies and Lessor's Insurnnct: policies shaH be vrrincn as
           primary policies nor conuihuting to or in excess of any coverage that Lessor or
           Lessee may respectively carry. L~ssc~ and Lessor :>b111 have the rig.ht to provide
           th~ covcr::.ges required ht:-rcin w1der blanket policic<: p~ovid:=d Lhat the coverage
           afi(.x<led sht.lii not be diminished by reason then::of.

9 .11      Lessee ag:re~s i:0 hold the Lessor harmless and inckmru(· Lessor with regard w
           mw,., claiP1 b\·,, anv.,, li~ird artv which suffered a. loss or c'.3.ma'-".c
                                                          p.
                                                                     ~              ... ;:.;:; a conseaucnce of                                                     ~



           rhc acii\Hi.es carried out by Lessee m, on or :-ibom tht' Pr;::miscs in the event thm
           (he- inswan<.:e company providing Lessee·:; Insur~mce shall 13il w pay any ciaim of
           .::iich third pa;:!.).

9. l2      lessee shall notif~· Lessor in wnting \vithin 5 ,fays, or Sl.ch shone- time period as
           set forrh in LhL anphcacl...: f.;.;sso;.. s insurance pol!c; !JY')' iced Lessee is made
           a\':are o t· Stier s11oncr
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                                         t1rnc pt;no d •111 wnnng
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           e~cu11,eu..:.:.. :~r ti) 2."1)' e\cnt \\'l1ich trig~ers, er rn:~·, tr1ggcr. ;::. clai11: under the
           L:ss.:.1r· :-; bsurancc policy: !ii) any C\Cnt at. in, l/.:1 or ur,on t.i:c: Pi·emis-:':; which
           qn2.lifi.t:s ,!s a rep .·mabk
                                   .         cVC"nt pursuant t0 the Lessor"::; Insur::.;.m.:~ policy: or (iii)
           <'.ny insured event.

1../ i ~   L~ :>sor shall notify Less .~..: in \\1iling wirh!n 7 d::;ys (1f L~ssor bc.'Cl)rnin~ ;nvar;; of
           ~he oc..::urrence of (i) <i:1y event which triggers, 0r may t:ri~gcr, a claim under [he
           i............. ............. ..'-~ .......
                  -::,S-'''''                 i··~U"''•    1 1"•"· •1(J.!ir\
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           +a!ifies o.s n reponJ.bl;::: even: pursuant to th'.: Les'.,._·;:':~ !r:sm:mce p.)licy: or (iii)
           any i~1s:.m:d e,:._rL

                                                                               .lliTICLE 10
                                                     ASSlGNJ\IENT/SUBLFTTT~G


10. l      A:o;si\!nment/~n~!'>a::e of the Premise.). cxc::·p: as ;1ro,:i..icd for :n this Article 10.
           th.:3 LeJ.Sc m;1y no, t)e <1.ssigned, nor rn;3y Lhc 'remise:=: bt' :-.u°'l"r by Lcsst:c to ~my
           :lmd qan:y 0r 01'Cl1pi,;d by ai1y other p~rs(1n orhcr rh~:.r: l ts:;c,: without Lessor's
           prior wrincn cvnS(:f\t. Ex ..::.."~H as fli\)vi<led for i11 th:s Ar1ick '0. any rransfer of the
           (lir'.::.:t or indir-::ct Comrol l~JS defined hereinafte:) ,Jf Le-:::se-:- sh'.iil constitute an
           ~•~.5ign.m.;;ra ands.ha!; r.:;qun-.:: L\'.'ssor·s rn,)r wnnen c.:.msc:nt. ln th'-: e\elH there is a
           cr.:1r.sfrr of the direct or i:direct Conc-ol of Le;;:scc rt::su!ring in the I es:;ce ceasing
           to tic- a ~1.mrna.ny t.;1der the direct or indirect Control •Jf ti1C families or' Prada anJ
           :~en~ ll! r~1r an\'      , reason \ .:hatsoevcr i.)thcr t!1an ~1s a r~~3t: it t." f :he ~7·d(i-cenH.:nt of anv
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           n!.:d            -
           . ....·'"'e ri~i:ts 0'1 the .-:>h21-..:s of PrJ.dJ Holdin.L N.V.. Lc~ssorsr;:.11 haYc (flC nr.ht
                                                                                                     '-


           t'.::rmin~a.~ t(us Least.:: upon 6 months prior -.Ynttcr nocic;.~ to T c::sscJ. \Vith rcsp,::;ct
                                                                                                                    ..... co

           tu rmy ~t~s;gnmcnt appro1, eel b} Lessor, the a.ssignec mu-;t execule and deiiver co
           L0ssor an agreemc:i~t
                             .....,                                                            -
                                             wrH.'rcbv,.. such J.SSiP.ncc assumes all of the obligations
           Lc:~See her:!umlcr anu ;igrees to be hour;d by :ill or· thc 1cr.ns nn..:l. con di ti om o t trus
                                                                                                                   .      oi·
                                                                                                                           -                                    -
           Lease anyiliCdrle
                        ~ '
                                        to Less~.e . Sub:;eoucnt
                                                              •l      ro ::ny
                                                                            - ....nermirL:.d assignm;;'.JH
                                                                                                    .....      or sublet '
           L:ssee ~ha1l r... main primanl~ liable ft.1f all o: L.::s:;ce·s obligations hereunder If


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          Lessor denies consent to a.s~1 g:n or sublet, Lessee iiere.by \VaJ\'l.::s the right to
          tem1inn-.c: this Lease pursuant to California Civil Code Secticin l 995.31 O(b).

1o.. ;    Permitted Sublers ~Ol\Vithstanding the foregoing. Lessor grants Lessee lhe
          right. -.,... i1.hout L(!ssor' s approvaJ, to sublet. in whole or in pan. Lhe Premises. to a.n
          .-\ffihate (as hereinafter defiqi:::d). Th~ foregoing right to 3ubiet shal I be suhject ro
          (i) there not being any dcfauh by Lessee of i1s obligations hcrctmder ar the ume of
          such suhlett~ng, and (ii) Lessee, p1ior to complering any such sublease. delivering
          w Lessor ni)ticc thereof <!..rid cupics 01· all documc-ms to be executed and delin:r~d
          m con.n:.:ction \Vith such sublease. In addition. any such sublease must state that it
          is expr~ssly subject and subordinate to this Lease anci ail of the terms and
          !JLO\ isions and condirion:.: hcrcoC Finally. Lessee :;hall rer.JJ.in primarity liable for
          a1! \)f I.csse~ · s ,'lhligJ.tions ilcreu11der.

l 0 .3    Permiited ..-\.ssignmems. N(irwirhsw.nd[ng Section 10. L Lessor yu.rns Lessee rhe
          righc ,,-[thou[ L::ssor"s apprn,:al, tO i.1SSign this Lease t0 ;,;n _..},_tf!liarc. If Lessee
          transfer~ its going co:icL-m to any cmi~y v:hich is not <m Affiliate of Lesse~, then
           Les:3et: 1yrny onl: ':.ssi.:::11 this Lease- to such :::r:tiry \\ i L11 Lt's.sur" s pn1)'" \vrirtcn
          c. . •ns~n., ·,..,focl:. cor:.s~nt ~hall not be unre:i..;;or.J.bl) withhek:. provdcd [1:2.t 1 essor
          m..:y withh~)]d its consent if (i) such non-affiliate assignee inLcnds 10 use the.
          Premises for a1y p~.!.rpose orh,.:.r th,m t11(~ use permitted ti·1der Sec.ioa 2 1 hereof: or
          \ii'J such rh-;n-a.ffiliat,; assignee· is insoh·cn~ or iics ::- vo!unta!)· petinon in
          b:i.:1:'-:-..iptcy. or a pe:ition is fikJ z~ga[nst such .::ntity :1J1,i an order for relief is
          e.rncr~J. or such entity· :!le3 L~.r1)· petition ::>r . ,l_ns(vc;: seeking any rt:orga.r1izat1un,
          arrmg;:rnent. composit\ ..n, reJdjustrnent. liqu1du.tit•u. diss;__)lutior-,. t.1f similar relief
          t!.1der any present or future b\v. or seeks, consents LO, or suffers the appointment
          0::· d i'!"US'~e. rccci \·-:-;- 0r h~uidar11r ;..1f such entity or of anv suhs!ant ial part of its
          pr•:-1.1cn~~s.        fhe tl.'regoing rights of assignment, whether to 3..n Affiliate or an
          ::1pp10vcd non-<\«iiFarc::. :>han br.:: subject tu (i) thcr\:' no c bei1;g J.nY ckf:mlt by
          Lessee; of :ts obl[g:itions he::cundcr at the tin-:.e ;;q· such assi :;nr;1cnt. and (ii 'i Lessee,
          prwr c1.1 completing any such ,issignment. Jcli\"ering to Lcs5or notic~ th1.~reof a.nd
          conics ~ · ~ail docurnenfs to be executed an...i Jel1'.·er·:>d i~1 ~onnection \\ itn such
          •'..Ssig:i:.rn•.?.:1r \Vith rc.::p~c: to :my pcm1it~ed assignff1ent. •he ;:ssi~111ec must execute
          and ..:e1i·;er !o Lcss0r an agreement whcr«.::l.1y ::;u.::h assi~:nee. ;~sumes all of the
          0i..1ligar;or.s i..1C l 1:·ssee h-:reunder and <1grccs w be bound by ail of the tcm13 and
          c~·I: ditions of fr.::. Leas::;. ap;_:iEc:.tbJe to Less,:-::.      Sub::.cqucm 10 any pcm:irtcd
          as:::ignmcnt, Lc3sc·.:: shall r.::nmin primanly liable for nll ,~( r.~.ssc<'s oblig:itions
          ~·1ercl1f


lll. -i   ~ermitted Occupants.       L-essor grants L:ssc-c the rigtn to allov. those persons or
          enti~:c·s listed on Schedule 2 attached hereto and made a p:.m hereof to occuov  ., a
          pon:on of the Prenuses so long <LS the Premise::; s1ull continue w be operated
          undei the tradenamc of r essc:e and thai Lessee sh:.ii1 remain liJbic for all Fixed
          Rent a:id o\11er obligations unJer this Lease.



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10.5         Affiliate For puqx)scs of this .6>riick 10. ''Affiliate'' me3ns as w any Person. any
             uther Person wh.ich directly or indm:!ctly Controls Oi is under common Control
             with or is Controlled by such Person. "Control" (including ·with its corrd::ni ve
             meanings. ··comroikJ by.. aI1d under .. corr mon conrroi v..ith'") shall mean the
             direct or imiirt:ct ownership of more th~m fifty (50%.) p~rcem of the ieg:aJ and
             ~'-{Hitahle inte:-ests iE ariy other Person. "P~rson'' m::an::; c..n individual. a r.rust.
             e$ta~e, pa.rmership. itmitcd 1iabiliry comp3J1y. assoc1ai:ion. CL)mpany. corporation
             or other legal emity.



                                                               ARTICLE 11
                                                               TR:\.NSFE RS

, 1 l        Intentionailv Dele£·;>d.
j     ' ••


1 ,     .,
l 1 . .:..   Righr of First Refus2L Subje:c, to Section i l.4 and Section 15.5 hereof. in the
             e\'C'nl ihat L:·ssor sh ,dl receive a bona fide third Dartv offer. evidenced by a letter
                                                                     '   -                     .
             o :· icrcn~ . contract or memorandum                           or
                                                         t-::rr:ls sign~d JJhi cdi\"cr.":d by such third
             p:m:), to pur..:hasc the Pre;nises for cash or the cquiYaknr of cash, as dctcnuined
             ir; Lt>~Sllr's ::;de discre{i,m. then Lessor. if it desires 1.0 accept such offer. shall
             gi \'C ::'rom7t wriu~n n0t1cc th;;:r.::of (the "First R;:>fusal ~~:)ti...:e") LJ Lessee t.:,gcther
             \J.·ith ::. copy of .:;uch letter o t ink:nt. t.ontY-2.Ct or memorJ.ndum of LeITDS \Vhtch sha ll
             cm:t·:i.ir1 ,li! of the (n:i.ncial and nll Mhcr rn~:ncn:.11 tcrn1:-. and cL1nditiom~ of the
             ;:>:·,-,;1,1scd tr.:.ns~:.cti,•n !ndl!dirg th'-' purchase pie..:. J.nj :ny i'.1deE1nity to be-: gp:en
             by l.cssGr (the .. rerms and Condi1ions..). Les~or will <.i.1 50rro\1d~ L·:!SSet: wirh Ult:
             ic~.·n il~' cf the tn~rd pciny ~1fferor and reas0rrnble infrn11,2ti()Jl as to tinwc1al
             c,)r:,11ti0n of the ,hird ~1arry offeror. The ·1 errns and C<)ndnions aiso shall specify
             th-~t the closing 1.1f such purcha3c shall occur lm a date: w:11ch is not less than 105
             day~ ~:. ~1c: the r-:::ce1pl r1 fth~ .Fi1 s! Refusal ~or1.:c ~~~· Lt:ssc.::.

             (a i     \V ithin ~1 [1 days alter receipt of the.: firs~ Rcfu.sai Ni.Hice. L-c~see shall have
                      th..:: right. ex~rcisabk by '\\ r i<tcn I1l)£IC'C ;[,·er w i i:.~Ssor. ro elect to
                      pu~ )12-sc t!:;.. Prernises at the pnce ai1c on ;he t~nns set fori:h rn rhe First
                      Rc 1usa1 Notice. The failure or refusa . of LcsscL'. t0 make. such election
                      w'. 1.11in such 90 da\· IH;riod ~       t               shal! be deemed Lo rnnsiitt!c a r;.";icction                    •          of such
                     •1ffr                 rn the -:;\·-:nr Lessee ci:::cts ro purchase th,: Premises, Lessee ar.d
                      Lessor sh.di enter inio a purchase and sak J~'Tc·:.?nk'.n1 \Vi th rcspec l w th(;.
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                     \\ 1m ~n.:: rc ...1l:1:-cn:tr:ts L'- L s .\J."'1iC1e
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                     purci1as.:: sha11 oi.:cur hy lh'2 l:ner l)f Li) 15 days a11~~r the expiration of Lhe
                     90 day period !'cI~n-ed to abo\c or (ii} the chte ~~et fonh in the Tem1s and
                     Conditions for closir::~ of the p111chasc between Lcs::;or and the lhird party
                     0fforor.



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        (b)         lf Lessee shall not have ekcted to exercise the rig:n to purchase 2S set
                    forth in this Section 11.2, whether pursuant to nonce to such effe~l to
                    Lessor or by re.ison of the failure or refusal of Lessee to make such
                    election to purchase within the 90 day period set forth in preceding
                    par:lg:·npn. thea I essor $h::tll h<!ve the ngln any tu:ie durH:g the 120 days
                    foliowinZT:::: Llic ex:riir;;.tion
                                           -                        . ...pcnod s~t fCirrh i:i ..oreceding
                                                       of such 90 dav                                   -
                    par:lgraph to traI1'-fer the Premises to the third pm: i<lemifo~d in rhe First
                    Rcfus:i.! Notice, at ~1 price a11d oth~rnise on tenns no less favor.:.ble to
                    l:!ssor than th.Js~ contained in th~ First Rcfas.:l ~o~ice with0ut giving
                     Ktice to L~ssee of such intended sak. If Le3sor do~s not enter into a
                    p1irch~LSe and sale conrract for th~ Premises \\ ith :;uch thml pan:y within
                    such 120 day period, rhcn Lessor s1o 1! be reqtllred any tun~ after such 120
                    c\Jy pc1i\.)d ro give: Lessee a First R<. fus<d Noricc in accord.rnce \vith the
                    tcnns of this Seetton upon ;:cccipt ('f 1 '1y bon,1 tide Ll1ird p~trty offor.

11. ~   Breach h\' Lessor. SubJCGt to S.:n1c·n l 1 4 and sc~·t. ... n 15.5 hereof. if Lessc-=
        b.•comes 3.warc th.1; Lessor has mad~ a Transfor b \·io.Jtion of ~Le rrovisions of
        ~e.:t!L)n  11.1 or S :.'.::ion : L2 hereof ~nd Lt.ssee elects to ma~,e a claim ag~1.!nst
        l cssor und.:r this Sec1i0n 11.3. then Lesse.. shall pro\ iac Less.Jr with \Vrirten
        noti~:: of sucb ci.aim (2 '"Cbi1~1 NL)tic~··). Upon receipt of a C!a!m :-\01icc. Lessor
        ~hJ.11 ban~ 20 di!_:. s from the receipt 0f such Cb1m Nor1cc to cure :'Uch viola!!on by
        rC'voi;:ing the TrJ.nsfer .:ind acquiring 0\1.tnersh1p of the Prem15CS. If Lessor fails to
        curt: su.:n nobtic>r'. w1t~1in such 20 day period. then Lr;ssor shall p<iy Lessee, as
        !iql!tdated Jamagt!s, che amount equal l                                        : it being
        undcrsto{1d by th~ ra.:tie.:> trnt the amounc of dama;;es for e;uch v10larion is
        difficult to ..:stimate and Lessor and L~sscc haYc 3f:eed rhat s~d: :::...n0u:1t rdcrred
        tom the r.~r~c~ding sentence sh<tll he fair compensJ~ion to :.es:;ee '.1, or, :.i violation
                                                                                             1


        rv Lc:;..;,1r uf ti!~ prl1-,, i.:>iom of th1:-: .J.rtick 11. If Le,:;sor !ait:.; tl1 g1\ ~Lessee a First
        R.::ft.:s~~l l';otice o:- rails t(' inciudc all i11fonn:"'.twn tn the fi:st R:::fusal Notice, each
        a::. re~uired by the provisi~)n.:: of :his Anici<~ l 1, in r1c• CYcnt sh.:dl Lesso~ bt li;.ible
        1~1r ;i.ri y damage::; Io Less.::c [or any such failure· if l.c:isor d11c~ nm consummate a
        Tr:i.11:-:tt:r of the ?rcrniscs.

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         fhe P.utic.; ~gree t'.i.at i!1 !lL> -:v~nt .sl1trnld the p:-O\ isi~m:c. 0f Secti0n 11 ..) hcreor oe
        <!DPiic..b!e i!1 the e\«:'nl ot 3 \"it,tmon
         •   •
                                                          or   such lirr.ir:iticns o:i ~r:.msfors of eaum·                 J           ,


        1mcrcscs in Lessor

d A     Tcrrninacion. In the even: that t!us Le.~sc is temiinat-..d by Les!-:cc for :my rc:!son
        perrrnncd hcreundc 0:: t.:rrnmatt'd by Lessor as a re:-ult of a D~fai.!lt by Lessee
        p:.!r,uant to which Lessor 15 entided to t<.:m1inatc this Lease. then Le~s-::~'s rights
        under !his A.rticlc . 1 rdarim: t::> restrictions on Transf:..rs, Ll-}e Ri!-.:.h' of First
                                             ~                                                    ~



        Ret't1sal ::.nJ the ri.;i~t to ~iquidat:::d damages shall tcnninatc anct the provi~ions oi
        .\rtick i I reL.lttng t0 such rights shall b;,; of no further forct: :ind cfrcct.

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                                                         ARTICLE 12
                                                         CASUALTY


l 2. i   L-!ssee shall ;:m'mptly no1if\· Lessor in wnClng or .:.ny ma~c:·1a! dJ..111age to the
         Premises pr1•mp11:;. afier L~ssce learns t)f [he sn.me. .For rurpOSfS Gf th1~ Section
         I.~. I. rhc term .. mJ.tcrial" sh:.dl meru: any da.mllgr to the Premises which triggers,
         or rL.:.V
                 .,, :rig£er.
                        ...
                          .._ a c!1im under L~ssor· s Iasurance Doilcv,, .         ~




t 2.2     Ln th~ event of fire or other casualty which results in dama:;e :o iitty (50'%)
         :·~t   \..l.           ·,r ..'1' ..,,__ 'r· +i,~
         ";\·"· .....' ··· ·1t \..l
                                ~ UL'-   i..,..1 •     -.1..t.-  to·a!
                                                                    L      ·uud1·c· f..:1ot·•<>C
                                                                          :>A           .
                                                                                       \i   -;:: -.T' li"' Prc:m.ises \{"~ubstantiJ.I
                                                                                            -l\,,.


         D.rrng~-'), f.eSS('r may dcct to terminate this Lea~~- Iessor shall give Lessee
         noric.c of its Jecision -,;•;hether or not to tcm1inatc frtc Leas(' \Yithin 60 business
         i.l:lys cf tlie d.3J.~ of" Subsrnmial Oamagc ·nJ. in :he cvcnr Les')Or elects to
         tcnninal-..: t:nis L~a.se, such termination :>h:ill he cffoctl vi;; 20 hu$incss day after
         rcc~.ipt of s·_..:h rh)~ic(; b:> L.:s-;·x·. L"non th(' d3te of suc!1 tt~m,ination. Lt~s:;ee shall
         qui!.. s~nr~nJer and '-'acate rf·..e Builcling a:.> if upon expi.ratwn of ti-11.~ term and all
         Fixed Rent sh.ill be ap11,~nw:1ec!          .'
                                                                          a~ of such da!c. If L~sstir ih")tifics Lessee that it
         de.es 11'-1t intc:-iJ to t.:r.T1ir1.Jte t;1is Lease and instc-~i.d elects to r2s10rc the Premises.
         L::sscr shc.11 norify Lcs;:,ec of the date that Les~;or, in its rc<1son2ble judgment
         oJ.seci on c;.)nSu!tJtk'I1 ,,,.ith one or mDre protessi ...1r~al:; w!lh re4uis1k e:xpencn~e.
         c.\pecb such restoration \.'.ill h~ C·.Jmplcted (r11e ... E,!irna(cd Restoration Dare").
         ~ub!e-:•
               . to cau~es bevom~                  ,            [ e:::~1.1r's c<.mtrol. It t!1t:' E-stm1ate1.l R~s,ormion date is
         rwrc ti1J.ri 18 months af;:er the date \.~f the Subst::mti<ll DJ.mag<:, 1 csse1... sh<Jl be
         cnmlcJ i:O terminate this [case upon \\T1ncn notice .to Lessor giq_~n within JO
         ousir.t·:--;s 1.l::y::. of ;ts receipt of l~;~ notice from Lcs:;or o t' the: Ec;ti mated Restoration
         i)arc. (Jpon the dJ.tc of ~J.ch ren111nau<..Jtl notice. : e~,~ee ~h~dl t;,u.tt. surrender and
         "a,:~te the Building 2s i:: upon expir<"!ticn of the lt:rrn and J.Jl Fi.'(ed Rent shall be
         a~i1r,rt1on~d as of such Jaue. lf Lt~s~ee does not elect ~\.." ter7t1in.J.te this L~asc as
         pn>v ided her:.:in. this L1,;..,i..::;e shall conur..ue in full force and erfr:cl t.'Xcept £hat
         Lcsse;;: sb:d1 be l'ntitkd t,) a pr0r::t(3. .1b0tc111c1t of ('ixcd R:.::m for :he. ponion of the
         Pr-.erm.::es dam::tgeJ by the casualty until me rcsroration of such portion of the
         ·Prcrr1i~cs is ~t1n:ple~e .


12 3     In the cvcnI of fire or other casu(]hy \\ hich results in <lar:1 . !ge to iess than f1tty
         (.5Y: 1l r·~rce0t or· the tornl <:q._w_rc t;,,.,t2~:..: of rhc Pr;:-m1s:?~: t "'?;.irt[2l Da:rn. .ge'').
         L~ss:)r shali hav1:~ :he: ot~iig~~uon 1.0 restore tbc Prcrniscs and shull ntHi(v Lessee,
         within 60 business days of the d•Jk oi P~mia1 Dam;:g:.::. 1.)f the Estunated
         Restorau0n O:Hc. If the Esurn:nd Kestoi-:ltiori Dale is r:norc tt1ar1 1S months aft.er
         the: uate of the Panial Damage, Lessee shall be enmled to tem1inale this Lease
         upon \',1itten notice to Lessor g~ven within 30 business lbys of its receipt of the
         nonce from Lessor of the Esumared Restoration Dare Upon t!h: date of such
         cermination notice, Lcssct: shall quit. sum~ndcr :.md vacate the Building as if upon
         c\{:>iration of the tem1 and ..iil f1xed Rem shall be a;:iNmioncd as oi.· such d::ue. lf
                                                              22
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          Lessee does not elect LO Lem1inate this Lease as p. .m·id.;:d herein. tbs Lease shall
          ..:onunue in foll for·.:c and effect except that Lessee shall be emirkd tu a prornta
          ubatemem of Fixed Rent for the oonion'        of the Premises dama£ed bv.,, the casualtv      ._                         ~



          until the rescoration or sul.!1 pon:ion of tb~~ Premises is comolctc.

12.4      This Arti;.;.1c shali be cunsidcrcd an express :ig--reement govc~r1.mg damJge to the
          Pn:rniscs: tmd (W the extent pcnnittcd by rnw) any s,amr~ purponing w govern in
          such cases. ncm or suhs::quently in force. including, without limitn:ion, C1lifomia
          Civil Code S:::·cti0ns 1932(2) a.nd 1933(4). $ha!! have no appiication under this
          Lease.

                                                       .-\RTJCLE D
                                                  CONDEMN ATIOl"

13        LessL"c shdl promptly n0t1fy Lessor m \\ riting .,.•f 3J1y thrcaL:;:":rn::d. cc.nderm1~:nion of
          rbe Pr~mi.:;cs. or ~.n; ;>-'ill)'! then::of prompdy .ifi:cT Le.;see ic.a.n1s of th.:: S31nc. If
          chc entire Prcmi.;cs [s c.ondemned or taken in conck:mnation. this Lease shall
          teniinatc ;:u1d ..::xrii:-e on 8-nd as of ihe effective date of such condemnauon.

t.3 ..2   Lf m\1re th::!.n sn~., or th.:· i.:sablc an.~a of the Premises skli be: condernnt!ci, then
          i;ith·.::r Lc:>sor and Lessee may elect to tennirnile this Leas~ h:,· notice to the oth:::r
          given with~:1 31J ch-.ys J.fte:- the c:ffel'.li\·e d:.w.: c1 f ::;uch condcmnmion: ond this Lcusc
          si1al! t:::nrnn.lie on the date spcci i-icd in such nor1cc iY• hi(h sh,:ll b1.: m least 00 Jays
          .1ftcr the \ht.:: of such n0t1-:t.).
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          -"°ease
          l                       ·
                     lS not r-.:m11naLcu   "' as provwca       · ,s· c·.::tton
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                                                                                                       or S;:;ct1on
          thcn, this Leas:.": sha!l rcnn~nate wit.h respect 011ly <O •he pornon of the Pre:m1;,es so
          ccmJcmneJ, as o[ tn~ cffc.:cti\·c dak ~lf such Condemnation Jn <lll other respects
          r:-iis Lc ..13e 5hai1 n:'n:din 1;l ef1.-cct except tha~ Lcs:;cc shali ()~ cntit~cd ,. after such
          tfa 1:~, to -' reduction ;n FP~-:J R<:.:m in the proponion \vh1ch ~.h::- ;ire:J. l' f the Premises
          sc cm1ckmncd bear;:; re ti1c total area of the Building at th<.' time of such taking.
          Lcssoi- s';all rcsto;·-. - <he Prcm:ses 3.fter a.ny parti:i! condemn~t101~ as nearly us
                   ' .     .                      l'         ; ,                      ,·• '                     .   . t  ~        .
          poss101e      to me' a •.le. con1..1uon ·n11., cnor~iccc •· c 1 UK :-.:JJ:nt. l!T1meu..llc~y JCIOrc tnc
          cond~nmati1_1n to the :xtcr:t it has sud!ci~11c fund.$ frorn th-:: condGmnarion award.

: _:..~   ~ot1..vithstandi n~; Sccth)!1        13 .2 or s~cito~~ 13 .3 ·~'-~r~ 'C. 1 !~ [hC!c ~s a condc1:1nat1on
          ,_,f ;:i subs ta.mi ~.I par 0:· Lhe means of ~:,:..:..:ss LO .tl~' Pr;::n:ii.:;es :::.nd Lessor does not
          provide a :ec.sonabk means of access to he Prcrn isc:~ v.:ithin JO d:lys of such
          conder!rnatior:. Lessee mdy elect to tem>inak .nis Least by nc•ticc lo L(~ssor given
          '.1• irhin 30 c'.i) s ,:f:cr t 1c ct1~;.:tiv-::- <l.ite of such c(:ndcnm:nion; a.nd U1is Lease sha1l
                                        1


          1:;n11inatc 60 days alter the giving of u!S:'cc'~ notice.

13.5      In tile event or any con,Jemrnnion or tak.ing of all or a por:ioa ot tne Premises,
          L.e::;sor sl~all recei-..;e the entire ~ward, }2!0\·idcd. howc~~' Lt>sst:t" shall be entitled
          io receive any separate 3\.\ ard mad'"' for the v,tluc of the estate vcs1cd by this i case
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                in L~ssce ;:mi'or irnprcvemcnrs paid for tiv Lessee, provided s:lrne does not
                reduce th..; award olherviise payable to Lessor.

 i 3.6          If therG is ::i tt~mporary tabng or cond;;mnation or' all or part (•f rhc Premises. this
                Lease shail noc terminate, but tht- Fixed R~nt and additional rent shali be abatt_;d
                during the period of such temporary u . k.ing or condcmnan0n.

                                                                   ARTICLE 14
                                                            sr_RRE'.'IDER: HOLDOY'ER

1-i. l         Surren<;ier. l;pon the c:..:pirarion or t1t.hcr ter n1n.ction l)f th1.: tc.m1 o( r.his Lease,
               [ •:-:;s>?.:: sh:.!.li quit 3J1d surr~nd-cr t0 L;:ssor the Pren~ises. vacant, broom clean, in
               "'';:rved or..1er and c0nciiticm, ordina:-v.. 'NCar am.l iea.r cxcentcd.
                                                                                  .     !n ::•.dditi0n, Lc:ss.::e
               .;hali rcmovt? ali signs and other it~ms rererring to Lc:ss(~('·s :.:2-:k11ame or bearing
               r_;;::ss.:.--:: s tradernarks. 1. :;ssee sha1l haye H1:.:; nght . brn not th-.' obligation. to
               reii1ov<:'.' :t.11y equipment. air conditioning or lighting s:yslcms or snuilar apparatus
               C'i Mod, ric:nions ~bn           Lessee i'1stalkd m 1.he Premis.::s J.urirf: the t-:rrn of this
               Lc::a.se: provided that. if T,essee removes suc'.1 equipment. sys:cms or similar
               <:.ppa.rams :::ir \ fodi fo.:at icins, Lessee sh..1!i h: rcsponsib k tc: .tll rnsts of sucil
               rcmon1l and any· damages incurred by Lessor as a re,;;di ot ,:;uch rcmovai. lf
               Lcsse =ele.::rs nut to remove such equipment, air c.:,ndition'.:1g or li2;'.1Hing systems
               or s1m1Ja1 ,1pp;~ralus ()r Modific•t1,)ns at e>:pir3.l!On o( this L.eJse, :my .such items
               rern~un~n~ in the Premises shall b~ccim-.': the property c !' 1 cssor and it1 no event
               shall L:::.:;so:- be rcql!Jred to reimburse Lessee f.x the c,)st of s'1ch it·.::ms rernaming
               in th~~ ?rem:ses or rmd.:e any payment to Lessee in connection with such items
               rcr~1ain ir; 1n the Prem iscs.             Ll:'ssc:e ·s obligation lO C>b~:T\ e L>f perr(1m1 this
               cc.n-en<1nt shall survive ;:h~ expiration or other tem1inati0n of lh1s l.c:ase. If the last
               dJy ("r':h-· term ot this L.::J..s·~ or .::.~r· r~ncw:::l (her1.·(1f f::lb ;.ma Surict:.i). this Lease
               sJ13.JJ e\:pin:.~ ai. noo!~ on the prcc~dng Sam.day 1nicss iL he ;; lcpi holiday m
               \'v1:1cri ~. a~,, i: shtll! ~:\pire at Ih)O!l on Ll1e precedrng b~ts;r"~ss d~1y.

I ' ')
. -t . .....   Holdover.                        If i....ess~c holds ove,.. aCter the expiration date (or any earlier
               tt.:r;nina~ 1 .n \)f t!1i-.. Le.be) \Vith1.)l!t Lt:ssor'::. w~mcn C(ll1S(:nt. J.l                                r.1:S$1.i:-'s dectivn
               such hoid:ng <.•ve1 shall Ix deem~d a month to month r~n:mcv terminable on 30
               da:1s· pri,.)r '';rirtc-n :1cit1c~. During st.. -.:h ten,m1..:. Lc.s~e(;. a~rc;:-s CL' pa:. L~ssM. in
               advance on the first day N.' c::ach fllOP.th 15011 v 0 cthe T'i;,_cd r~;.."h payahle by L·~Ssee
                for thL :r:.om:1 prinr to the h1)!Jo, t::r. and :,Uch mo .1lh-r0-m-.1nth t-=:n.1nc.v shall
               otnerwise bG si.1b1cct to ail of the terms. c1..~\·enant:::; and ..:ondnions of this Lease.
               'he L~ss~;: exl1 rcssly 1,vaivcs any Tights unde; Calit"tm:ia b\\. !!' ru1y. to pelition
               ~h1~ cc)urt frir a Sl3Y of proceedings m connection \vith any hcldov,:? proceeding or
                                                   ·:;-· L
               'Jrt .:r "c<,-. 1 or rnr1.."'ceC1'in:i      "·~s·'·'·<: "'hl1·,,a11·01"·          u11a'.-1 ,:11·      ··1~·1v;•;1·
                                                                                                                , }··J\..          rr-i «l1.,Jl
                                                                                                                                           u • .,uriy 1·\.,.,
                    1                                                                                                                                      1
               ""   ...   -1   "-   " ·.   ..      ~............................. \' .... .::,--
                                                                                               t-.J       tl .. ,,..
                                                                                                         ....                ,,_ \..1.: •
                                                                                                                                        .1      .J   ...       ~


               the expirn,li.m tir other tem1i1rntion of this Lease.

1--L?.         J>ropi:=rn· ·\othing in this anidc .:-hall be consmJei.l lO give Lcs;.;or title to or to
               pn::v,~nt Lessee ·s removal of trade fixtures , stock in tr:ide. moveable office
               furniture and ~quiprn.::nt, hm upon remo\·aJ of :.my such from <~1c Premises. Lessee
                                                                            14
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        shall immediately and at its expense. repair any d·.J.magc to rhe Premises due to
        such remoJv:.d. Al! property permitted to be r~moved by Lessee at Lhe end of the
        t;:;m1 remairijng in rhe P r;:mises after Lessee's rem1)val sinll l>t. d<.:tm~d
        abandoned ?.rni may be retained as Lessor's property. , \ll property requm:-d to be
        removed by Lesst:r.:: ar the end of the term remaining in r.h.: Pren11ses afoer Lessee·s
        r~rnr"lv~l shat! be deemed abandoned and may, at ihe election of Lessor, and
        ·widwut a.11:· cost or l!ubi![ty t1.~ Lessor. either be n:tainec a~ Lessor's property or
        rrni:-· 'oe rernoveui trom
                               ·    · nl· rem1scs
                                   the        ·   ' Lessor 1l T
                                                  oy           _essee •s expense.

                                         ARTICLE 15
                   DEF...\ en ,TS: CONDITION,'\L LIMITATION: RE\1EDIES

J). l   Defrwlts: Con..ditional Limltation: Remedies                                    E::~ch   of the followin~ events
        shall be a ··Default"' under this Lease:

        1,a··           .--\.n v 1nst:..1!111eru of Fixed Rent is not paid, v:hc-t.h::r b) L~ssee or any third
                        party (including but !"lOt limi ted to any third p:lny guarantor) v:ithin 90
                        dav~ ai1er lhC.:: dat{! such 1nstailmcm ~1 f Fix;;;d R::::nt is r!rst du.~ a111J p:ryable
                        to L.::ssor;


        tb)         ~~,e3:;;::e or any dli~d p2rty (including. bu~ nor llm::cd (0 :my third party
                    guara:\tor) fails w pay any item of additional rent within 90 days after
                    ,,T:•teri notice r:-om lessor that Lessee h<is Jef~ultd in ils ob11garion 10
                        n    J       •   ··..-1t""•,.:.·
                        !-''-... _       ~ •.. ·J.1..~ . .




        l-=1            L-:s:=;ce .:.dm;ts. in '-WHing. that l ess~e is unable u ;x-iy I .::s3c.::·$ d1..bts as
                        su..:-h b<:come du.:::



        \_-:.>'I        Lessee (;le:; 3 vc1u 1tary petit1on in ba:rtkruptcy: or a rdit1on is file<l against
                        Less•.:;:: a.nu ill1 order for reiicf is cnt;::rcd: ~)r L;;s ~~ee fik~ :my petition or
                    a!lS\\·er seeking any reor1,~amza110n.                 :trrangemcnt, composrtion.
                    1:::JJ_ji.1snncm. IiqL·1dauon dissolution or s:milar relief under :.JJ1y present or
                    i~nure hl.,-.,: or L-:sst:t.: s~ek.:>. consents Lo. or suffr:rs the appointment of a
                    truste:.:. recci\·er ('r liqaid<'tor of l.c:s:-;ee o~ oi any subsu1:tia l part of
                    T  ·-'...:. ·~ ,.,, .. -~ ~'!'" ''T)•'r·ri-~...: ·
                    ~'---:,~,., ·' l.J' '-'. ~ ..... -·



        \f)         50 lh~ys az1cr con1n1cn('.Crncnt o~· ~u1y prO('Ct~d1n~; :!g:J.inst Lessee seeking
                    any :corganiz.ition. t.1.rrangcmcnt. c.omposition. r2:.idjusmtcnr liquidation,
                    disscJ!ution or similar relief under ~n: pre.:;em or fmurc J;nv, such
                    Df\")C8Cd1 f1 !!. !S no cisrnissed: 60 QJ\!~ aibr the ~!DDr \.)intrncnt (\\ ithout
                    I                                    --                       J                '




                    Lessee's consern) or a trustee, receiver or liquidritor of Lessee or any
                    ~~ut'StJn[i,1! pctJ1 of Le::;sec.~·s rropcni-::s. ~uch app•Jinur1~n! is not vacated ur
                    stay~d on J.ppcal 01 c.nherwise. or \~: ithin 30 days ·1ner the expiration of ;my
                    such stay, such 2ppoimment is not v3catcd~ 1.ir a l··vy or <.machrnent is

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                     madi! against Lc:;;see · s prnpertv 3.nd is not vacat.ed· or removed by bonding.
                     agreement. or coun order within 30 days;

          l,g)       Le$~ec fails to kc:ep or p.-:rfonn :.my matcm:.! te:-:11. covenam, condition. or
                     prov1s;on c:f this Lease to b~ kept or perfom~cd "!:ly Lessee. other t..'f:an tht:
                     payment oi r~nt, :1.nd su.:h failure .:ominues for 30 days atkr \\li 1tcri notice
                     from Lessor unlc.ss such failure 1s susceptible of ct!!"~ and requires \V1.Jrk w
                     be pcrfom1ed. acts to be dt)n1.:, or conditions to be r-:·m(ived which cannot
                     be perfr1m1cd. done or rc:mtweJ within such 30 <lays. in which case the
                     Default shaE not be deemed to exist as long a.." Lc~see:

                     (:)        advises L -:ssor ~y wrattcn notice '.v1th1n su~'.h 30 days t'.iat Lessee
                                shal! remedy Sllch failure and spc1.:ifies a r\!asonabl:, prompt date
                                by which L.!ssee shall have done .m;

                     ( 1   1)   c0m...'11ences prnm~'t1y to prosecute th·.:- ..·ur!ng of such failure .:md
                                dil:~emly anj l.'Ontinumi:.;ly pr0sc.:.:u!~~ Ill co npk::ton ail steps
                                necessary to rezn,·dy t.~e problem, and

                     (iii)      -::omp[.::tes the cunng ~f :'llch taiime \\ich rc2sunable promptnc::s~
                                (.md. no htcr tr1an the date s~1cc:ifieJ in Lcs:>e('·s notice. which d:m:
                                "ilJY b:.:: no ~:Her than ~)l) c:y:; .nr~r the c-·x;:ir,mon C\f the foregomg
                                thirty-day period); and/or

          lh)        L..:-:-;sce fails to (i) r~new the Letter of Crec.il a..., required pursuant lo
                     s~cti1.)!l j   i h:e;-cc! :lt least 10 day:> prior t.J the expiration tht:reof or (ii)
                     :c::;wre tht~ amount of lhe L~tter of Credit c.s required pursuant to
                     ~..:·..:t10n " 1. here .."f \\ 1·hin 3 D•)~lths after t'.le da'.::! such w1s3tisfied
                     oot. !at10!1 of L-:-ssee •hm trigger.:<l Les::or 10 dra\\ upo11 the Lerter of
                     Cn~d:t bccar.1.e fir='t due and pJ~.1ble ;.mJer the terrn:-: ,)fthi-; Lease


          ff)        Lessee i~i!l$ to be Controlled, directly or i11direct!y. by f'rada Holdmg NV,
                     ;t-; .;v-rent parent cumpany.


11- "\-    Tf m:J \vhcnc\»::r :wy Default occurs..!t Lessor's option Lc~;:;,Jr ma) serve upon tht:
           Les~c-.: J r:v.::-d.l)' not1~e of canceilation and tenninJ.ti11<. ,•fer..:..; Le.?s:: (the "'5-Day
           ?\1.'tt:e··1. l"p1.H1 the exrirmi1.)n vf such Eve-day period. ~his Lease ,md its ttm1
                                    .
          .;tr1ll :.ut~lm.ui-:ull\· :1nd \\ 1o:h,)ut :.:i.nv                . tem1in:He. expire. and come
                                                          - a•.::tion b'r :mvon.::
           to an end, by thC' mere iap~;: of 1i111c am:i by the exp:-r.:ss r-:·1111:; 0f th!::; Lease, as
           it.!ly a.·i.i t"'ompletely J.S if the cxpirai:ion of such i:'. c-Jay period were tht~
          expira:1-.1n dace of this Lease. The pdssage of such five-de.y period consti cutes the
          hm1t b:yonj \\hich th~ Lessee's tenancy no lo!igl:r exist$. and no long;~r can exist.
          L; pon th~ mere occurrem:e Llf the passag~ 01· 5 day.-\ arkr the Lessor· .s nNice of
          ::-:mcdlation i.U1d tcnnincition. this Lt.:::).se s:1~1ll automatically expire hy its express
          temiS . .:.J(1 r~-entrv  "
                                     or other act sbn!l he nc.::.::$:>O.rv   . to tcm1in.lte !h'~ I.case. This
          par<:~Taph
                 -    . establishes a conditionJl r 111H~t on .ind not a conJit1on subscQucnt. hut.
                                                      26
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        dnes not limit the Lessor's other rights or remedies. LJpon such a terminaLion,
        Lessee shail quit a,,r1d surrender Lhe Prcniscs but sh~ll remair: Eable as pn.nnded in
        this Lease.

15 .3    Jf and \vhenever any Default occurs, andlor if tJus l.c;isc. and the rcm1 tem1inak
         under Section !5.2 or otherwise. Lessor may tennin~re Lesse;!'s right to
        po::>scssion and re-enter and repossess the Premises without notice using such
        force as mav... be rcasonablv * ncccss2.rv
                                                 " w1thout prosecution
                                                             ..             or damages:
                                                                                    '-"   and
        Less·;~ :;hall remain liable as provided in th:s L.ea.se. If Lc'.ssor so re cnren;, at
        Lessor's option, s.nd whether or nor this 1 case and th(: tem1 h;:.ve tem1inat;::d,
        Lessor mzy, but shall not be obligawd lo:

        {ai      ci1hl'Le any iocks or other securi0· devices;

        (b)      .-01!1pl~Le     any untinisht.:'.d w01k ncccssm)'   01   d-::sinbk. m Lessor's
                 r~asonable judgment, to prepare the Premis~s for occupancy;


        (c)     rc-p:.:!.ir and alt~r the Pren11ses ii. such manne: as Lessor deerns, necessary
                or J.~sirabk, witn:Jut relieving Lessee of iisbility Lmdcr thi:; Lt:asc~

        (d)      let or rdct the Premi~cs (or 1Ey parts :hc:rcd) for the whole or any pan of
                thv remai.r:Jer of the term or any longer period. :n Lessor's name or a.s
                :>.:;cm of Lessee, and pay nnd apply all rems ~-.11d othe sunts collected or
                 received as foilo',\·:;:

                (i)       fii·.st, t0 cosb and cxpe:rs-:-s mcurrel: by Lessor l:t tenrnnating this
                          Lease. re-entciing, reposs·~ssing. repairing nndfor alt~ring the
                          Pr.;rn1scs. and removing all p~~rsons and prnpeny therefrom;

                (ii)      ;:;ec0nd. to costs and expen::cs inc:.irred by Lessor in securing new
                          t~ncnr(s) for tne Pren-:isr-s (induding br,)ker;:g~ commissions, and
                          expens~s . .-,f pn~pc1rntion 101 relenin~, utiit:ies): m1Li

                (iiil     third. any bal:)nce tht:n remainir..g wward$ payment of lessee's
                          liability to Lessor; cn1i'cr

        \C;)    <Erect ...;.ny subtcn<elt of Lessee     1.1)pay Lessor directly any subrcnt.
                L..;s.sor·s i.;~1!kcti0n of subrl'm from any subtenant shnll nor c:.rn~e Lessor to
                have 2.ny di;e--:: :~!ationship with, or become lhe direct lessor 01: a11y
                suo1:i.:r~ant.


        Tn Po case sh,111 re-crtnv bv l.e~sor. \v:1cther uader sumnurv proceedings 01
        othc1wisc. disch2.rge Lessee Crorr any :iabihr;:.. unde1 this Lease. Lessor shall have
        no obli!!ation
               ~                                                                                 -
                       to rdet the Pr'."r·11s. 'S, or to colkct a.:n- rt'n: or other sum due on anv
        such rektting; and L.css0r's failure to relet or to col!t:~t rent shall not relieve
        Lessee of any liabihcy .mdcr this Lease. Lessee sho.11 not be entitled to any cx~css
                                    1




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         or rems collected uoon anv-· relettim?.- of the Premises over the Fixed Rent.
                                                  ;;.

         additional rent and other sums pay:ib le by Lessee under this Lease.

l 5 .4   lf Lessee defaults, and/or if this Lease and [he iem1 L~munarc under Sccrion 15 .2
         or otherw·isc. and1or if Lessor enters the Prem1;:;es under Scct10n 15.3 by any
         Sllr:m1ary proceeding or otherwise then. in any such event Lt~ssee shall pay
         Lessor, als0. as damages, any deficiency l'.l "Dcfictt>ncy") bet\\C:Cn \1) the Fixed
         Rent reser\'ed in thi.::; Lease ;::,nd ;1dditiona! rent for the pcriou ,vhid1 otherwise
         woul<l h:we consritmeJ the w1expired ponion of the t<7rrn J.nd tit) the amount, if
            - \' f rems ::...:tuallv (;Ollectec bv" Lessr~~ under any... rek!tirnz dfoctcd ...pursuant to
         anv.                                                                                                               ........

         Sc::tion I5.3t_d) for any part of such period (arkr deducting from such collections
         tile <!.mounts specifi\!d in Section l5.3(d)(i) and (iilL Lessee :.h;,•il p ~1y any
         Dcfic:cnc) in installments on the d~;ys ::.peciiied in this l ec.sc tor payments of
         Fixed Rent and additional rent. Lessor shail b~ ('.ntitkd to recover from Lessee
         ,~ach Ddici.::ncy rns«11lr:'·;:·1t as accrning. and , o i .iegal f'rcicceding to collect any
         D,:fa::tency rn:~u.'lr:lem: sn~ll pr:~juciice Lessor's right to colkct any sLtbsequent
         in::-u! 'mcm i:i tb:- same 0.r :rnothe:- Lcga.l Prue;: ding. \\'"h~:-h..:-r or not Lessor
         ~olk::,s :m y tmpaid Defici ..::ncy instailmc.:nts under this sc.:ricin. Lessee shall pay
         L.:s~llL on .:icrrarh.i, in 1:cu of ;m; further installments of Deficiency. a..o... c.ntl for
         liciuic'..ated
            .           and a~reed
                             .....
                                   final d.n.ma~es
                                               """' i\ ;T bern~ a2rc.ed
                                                                 ._                           -
                                                                        th.at i~ would b~ imoractica1
                                                                                            ....

         or e>.~rem-;!ly diffi::u!r to fi.\ the actual darnagc-..:t a sum tqud to lht! :1.moum by
         \\'hich fixed Rem rc.;;crv~d in this Lease and add1l·on11 rer•t for th1. :1criod which
         oth"':-wisc w01.dd hav,~ consrEmcd chc unexpired µonion       the tcm1 exceed~; the                           or
         then 1a;r ;i:id rcasonaok rcmal Yaluc 01· the Premises t\Jr the s:1mc period. both
         discount~d to present \VOrth m the rate of 4% per .mnum.


l5.5     Ii <i De1au!t occurs pu;·suant to Section i 5. l(a) hereof ;_•r -:._..:ssee. r3ib to increase.
                          ' Lc:tcr
         o:- r·~? l2c..: :nc     . oi ln.:rnt
                                        - ' . w1tl1m
                                                 . \ . t1K 1101::
                                                        ~    . pcTiO:JS. ' :s-:t io:-tn
                                                                                  - ' m . St:ct1on
                                                                                               . l )- . 1,,\~1.)
         1·,c1eu 1-. rhcn (.:.) Less0r ma~. in its s,:ik dis1..rcti0n. elect ;o tcm1inalc this L::;ase. {b)
         1hc r1ghts of:!..es:;;ec set f1.xu1 in Scct:1.m 11.l and 11.'.:'. o:this Leas;:- sldl tern1inak
         J.r:d shall oc of n.J farther force aLLi effect and i,c) S::ction l ~->of this Lease shall
         ti,; deernd nuil ar:d void and Lesst":e· s righ'r to liquidmcd Ja::nages as set forth in
         :::nch Sectior: 11 J shall krmindte and shall be '"f no fo:-ther :tore~ :i.nd cffee~..

l 5.6    L~ssor mJy bnng Legal Prncc-edings .from time to timl'. :!l L-:ssor"~ election. for
         th-:: ro:;co'> ery or da.r.:Mg~.s. or for a sum equal w any i11.s1a!!mem or installmems of
         Ft:uJ R..:i~r a.rd additional rent or ~my Defic:i..:n·2y or •)t::cr sum pa_v;:ihlc hy Lessee
         t ')'
           ,  L, ... ,-o~   "·t"• ~-ll
                     _:, '1 ~          '"·1t .L·.
                                  ' " '"-'        d~, l ......
                                             t" r"r,·-     0······
                                                               4.:>l., '' l ' (1l n·1t'ru
                                                                       ,~.\        l\..  ·nLT  'n ·'·
                                                                                          "::- •·-    ·- ...._
                                                                                                   d;l::, f"'                     .. lj T'
                                                                                                                      ·· :>. ..t,L:t
                                                                                                              ..... ");,                 C:L1ll'l·r-      ~ ·-
                                                                                                                                               • 4\; .,~,_,::;;:,QT t0
         aw21t the orig1nal!y scheduled c-<pirarion d:lts fo: ,m~· such purpose.

15 -;    N;,J receipt of mon~y by L:::ssor from Lessee: aiter lbc' gi\·ing of a 5-Day Notice or
         21!cr a termin<:tion of this lease shall remstate. contim1e or cxlend the term. OT
         opcrm:c :lS a '>va.iver of Lessor"s rights to enforce paymL~nt oi Fixd Rem and
         addn;onal rent Lhen or subsequently becoming due. or to recover possession of the
         Prenrn;es. Lessee agrees lhat, ar1er Lhe giving of a 5-D3y Termrnal!on l\otice or
         cormncncement of legal proceedings. or :lfkr final onkr or juug.."Ticnt for
                                                                             28
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        possession or· the Premises, Lessor may demand and collect mornes due from
        Le-::see witlwut invalidatin£ or rescinding such 5-Dav ~oticc, ks.:al proceedm~~.
         ,   ...                        \..ol             ...,..       ..            ....            ...._



        order. or judgment: a.rid. 21 Lessor· s election, all moneys so collected shall be:
        acemcd pa}1nems c>n ::ccoum enher of (he use and occupa.ncy of the Premises or
        Lessc;::'s iii.1bility under this Lease.

i 5.S   If Lessee is dispossessed by judgment or warr~mt of 111y court. or in the event of
        re entry or repo::,scssion by Lt:ssor- or expiration or aI1y terrnination of this Lease,
        [ ~:::.s~e (on hcrwlr of L:ssee anJ ai! Persons claiming h;,, th~ough, or under
        L:sseci w;iives to the f..dkst extent pcrmin~d by law (a) service of wy iWlice of
        nue:Hi0n ,o re entt:r no\,· or hereailer provided by law or of commencement of
        L-::,gai Procccdin_?s for such pu~'c1se: (~)) any rights of redemption <O\\. or
        !1crcrn_ifler provi.:kd b) ia-..,·; and \ c) an._v rc-er:.trv or 1epossesston or tight to
        ri.'.srorc the ti::nn or CO"'tiiluc this I ease.

15."     '.'\o failure by I e..;sor w insi,st t:pc·n strict ;i:;rfon-narn:·e O[ any lt~m1, cO\Tnilli1.
        c:onJi!ion, or provisio11 of this Le::i.~c- or to ~xcrci::-:c any ngi~i or remedy after a
         Tl~fou!L a.nJ no ·1ccep .ance of ~ull or panial F1xe-i Rent or ~ddi1ional rem <luring
        the continua.nee of an~' Defat.dL ;:;hall constirute a wai\:1:T by Lessor. :>:0 ten11 .
        ...:ovcnm;i. :cwfoion o< pr,wision of this Lease to be kept or per:..onne~) by Lessee.
        and :11:-. DcCau1t. shall be -..,vaivcd or modified by Lessor exceyt in v.rning.

l5. i0 In cH:nt cf J11y Ddaul:. or any threatened             br~ach by Lessee of any krm,
        covenan:. ccnditio,1 er oro\ ision of <1is Lca:>c. { essor s~ a 1J oe enti[le<l to enjoin
        S<ich Dd-:i.ui . or rhre:i:ew"'o bre<Kh and sldl hJ\"C' all ri;hts alld n:wcd ies :::ilowed
        at law ~)r in equity as iD1.'ugh thi'> L.:ase did nN pro\·ide for ri::· entry. summary
        pro-:cedings. or other rcm~d1cs.

15.11 E;:tch n~;ht <.i.rlli rem~dy of Lc:sso;· in this L.::a~c sh:ill be ct;.il1Uk!1'-C and in a<ldidon
      to eY.::ry othC'' right or r"..:mt:d:. u1 this Lease or i1liW 1.)f subs('qucntly existing at
      bw or in cq ;J ity; and die e"\crcise tor :.utempiet1 exercise:) O\' L::::--:sor of any one or
      m11r~ eights or remedies sha11 n01 preclude sinu lrnn~ous or btcr exercise by
      Lc.5Sor of ·Jthcr rights or remc:dies.

15.12   L~ssec \vuives ,my ~qu1ry nf rcdcmptH)J1 and :my right :o relier f1"1.1rr· forfeiture as
        nrc·vid:;:d hy Calif(.1rni~1 Code of Civil Procedure Section 1179 (or any similar
        appiiobk slatute. :«.::gulation or la'.\' now o:- hereafter in c-ffrcn.

                                                ARTICLE 16
                                                INDEMNITY

16. i   General Obli 0 ations. Lessee shall irn..krnn:fy Lessor :igainst :my: (3) negligence
        of Lessee l ar:d an yonc ciaiming by or thwug.h Lessee) lir its or their p..trrners,
        membcr.-s. dir ..:ccors, 0fficcrs, or employees; ( b) brc2ch o ,~ any representation or
        \Varranty m:ide by Less~e in this Lease or ddau!t by Lessee under lh1s Lease; (c)
        use, occupancy, controL nrn.nagement, opcr.nion, and possession of the Premises;

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         (d) anv work done at the Premises and :uiy ;;.g::.:oemenis that Lessee {or anyone
         d:iiming through Lessee) makes for any SLch \VOrk; le) the conGttiot1 of th~
         Premises or J.ny street. curb or s1devralk: adjoming the Premises. 0r of :iny nults.
         tunnels, pass;ige\vays or <;pac.., under. ad.ioming or appt.rtern.uu to the Premises;
         and 1J ..my accident. injury or d;unagc what;:;ocvcr caused tO any person in or on
         the Prer11L>c~ or up1)n or undcr the si<le\\'alks adjoining lht: Premises.

1r--.2   Em iron mental/Hazardous l\laterials. Le.;;sce shall be solely responsible for all
         cnvironmcntJ.l anJ hs:ardous material::; issues, claims or maner.:; rchfr:1g to rhe
         Prem1,:,es a.rising on. or :-.ub:;cqw::nt m, the Commc-nc;:!ment Date. and Lcssc::: shall
         ir:demnif) Le.>sor against and hold it hmmkss from. any losse~:. claims. darn:.iges,
         expenses or ,'ther detlim.~nt~l con:>equences ar:smg o.it of a:1J ~.;uch em·1ronmcrnal
         or h.~L ffdous matcnal mat1er. i:>sue (lr daim relating h..• the Pt(.'mtscs L~ssee
         agrees chat since it or on..: of iEs atillintes owned the Prem1r.;es immediately prior to
         the executi0ri &'ld delivery of this Li.::r1..;e, that. Less0r sha!1 l!Ot b;;; liable for any
         i!'.1\'l'."L~m.,.1cntal and hazardous mat.::n,lls 1ssi.1cs. cla1rns or ·natt::rs relating to rht
         Prer,-:.s~:; ::i.-ismg p.-;or '-('th."' Conunencemem Date.


16.3     lndemnifkation Procedures. \Vhercver this Li:::.se !"C~mr.;s Lcss~c to indemnify
         Les::;ur:

         (.lJ        f'n)mp' Xcirice. Lesso: :;hall promptly notify L~.;$t.C oLmy cbnn.

         tb)         Se/e..,rion cf Corms el. Lt:%r;e shall select c0tmsel 1.:-asor:•tbly acceptahlc to
                     Le-;1.;or    C•,):.lrsel to Less-::.::'s insurance Cu!Ti~r sh:i.ll be dc'-med
                     sausfa::to1-y. :.':e1. thoui.;h Le~see shall defrnd .he ~:cuJn, L~.:;so1 may, at
                     its option ;:1:11.i it~ own expense, engage s•?par.uc cma1sd t(l :idv1sc it
                     r.:~:rrding the cl~im ?.nd its defense.           Such counsel may attend all
                     procc..:J·ngs and m~t'ttn§!$. L>!:>Sce · s counsd ::;hal~ ac(\ ...:!;: consu.h \';ith
                     L~ssor·s cocms~L L:ss.:c <....'1d its counst'l shJll. h,)\\t:\ .:~. fully C\.ll1~hil rhe
                     deftn . .e.

         (c)     Coopcr.ui(ln. Lc~;.;or shall I":asonably coopernte with Lessee·s de fensc.
                 pro\· .d~d i .css('c rci:i1 burse::; l ~~:::'-)r · s actu ...: n:a::, 1? 1bk out ,-.r p0ck2t
                                                                                  1


                 exoen5es (;ndt:d.r leg.ll C,).:>ts) in 0;(1qdr;:~ ,:;u;;h C0•)'1.:rJnon
                       I
                                          0
                                          -    .....          •        ._             ,..




         \<l)     St ulcment. Lessee m:l;. wnh L~ssta's cor:st!nt. not to he unre3...'>l)n2bly
                  •, Hhheld. settle :he c!aim. Le5:-;,)r"·; consent ~hull not ti:: reql!:red for any
                  s~nlemen! t') w};1ch: \ \\) Lessee procures (by pa; mt. nt. scnle;-:ient, or
                  tJtherwise) c: rde.:is~ of Le::,-.;pr b> \\ hi-:!1 Lessor n~<.:d not :nJ.kc ;:;,ny
                  ~.iayrnent t0 the claimant. (x) ncid1er I essor nor L,;::;:;cc cin behalf of Lesso1
                 admits lrability, (y) the cont111ucd cffectiYcne~s of this i_c<ise is not
                 jMpanlized in 3..ny "vay, and (7.) l.cso;;or's int..:-res1 in th..: Prcnuses is nor
                 JCt.'pa.rri1zed in any \v:~y.



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16 .4     Su n1 iv~! of Obiigatious. A.JI of Lessee's obligations W1der this Article 16 shall
          survive the expiration or c-ar1ier t::nninarion of tbs Lease.

                                             ARTICLE 17
                                          LATE CHARGES

17. !.    Late Pavments: J...gte Charges. 1f Lessee fails to make any payment to Lessor
          required under this Lease V;ithin 60 days after s..:ch payment is firs• due ai1.d
          payable, then in addition to any other remedies of Lessor, an.1 without r:::d:.:cing or
          advt!r:>cly affec!ing any of L~ssor' ~ ot.1-icr righ!s and r::::n~dies. Lt;:;see shall p:iy
          L:.:ssor npcn demand imc1cst thereon at the rate of Rc:irnbursemenl in~erest on
          such lak p<rymem, bcf:1nning on lhe date such paymcm '\as first due and payable
          and cJntinuing lmtil the date when Lessee uctually make:> such p:-iymem. In
          addi!ion. :l.lld \Vtthout limiting ~my other righrs or rcm.edic:s or Lt·~sor, Lessee shall
          pay Lessor, as additional rent, an admin\;;trativc charge equal to l ~o of any
          payrnem t.hat Lessee iails ro pay within GO days after such payment is first due
          and payable. Such adr::i:tistrativc charge is intended to co~pensate i.css0r for the
          !n.::onvenience a.1d staff time incurred by Lessor to handle th~ }arc or missed
          !-iaymem. shall no: o~ dcem~d a penalty or compensation for use oi funds. and
          sh~l! '10t be credited against any other obligations of Lessee under this Lease


                                             ARTICLE 18
                                          NON-RECOURSE
 ,, .
1::i. \   ~utw1thstanding anything to the coutrary in th.is Lease. L'1e liab]lity under Lb.is
          Lease oi Lessor and of its p~i_re11t(s), subsidiary(ies), or affiliated corporations or
          c:th'..'r euti':1es. and aJlY of its constituent partners, joint venrurers, or tenants-in-
          common. f0r damages er othenvi:;c. shall be cnforc2able against, and shail not
          extend C.eyond, its intcresTs in Lhe Premises ':nciu.ding the proceeds thereof). No
          p!:..-.pc. !y •)r ussets \\'hatsoev;;-;r, except L~ssur ·s nterest in the Prl.'!miscs (including
          th.; 9ro;::e::Js thereon. sh:: ll be subject ti.:1 ievy, exec•.liion or .my othe1 enforcement
          proce~fore:: for the sdi:Sfa.::tion of any remedies (monetary or otherwise) of Lessee
          <tri.sing U.'1dtr or in connection wi1h this 1 c:ase. 1\o shareholder. ofriccr. member,
          r~1;urn~er. <.tirector, a~em or emplovee. of Lessor shall have ,mv lrnbilnv under this
                -                _.               J                               J        ..




                                             4RTICLE 19
                                               NOTICES

19. l     A:l notices, rcLillests, dcmo.nds. elections, consents, approvals :i.nd other
          commmncations u:u.ier this L~asc (each such. 2 '·notice'') mu~'t be in vvrit1ng ond
          addrcss~J ro the Parties at thc11 add1~ss~s set forth above (or to ar1y substin1te
          addres::; which cithc1 pany may designate by notice).

19..2     .-\ny nocice rt:quired bv this Lease to be given or made \.virhm a specified period of
          lime. or on or before a ccnain C2.te, shall be deemed to have bern duiy given only

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          if delivered by hand (includir1g c.omrncrcia1 courier or express service). or mailed
          by first class, ccnified or registered mail, rcmrn receipt requested, postage and
          fo::s prepaid. A notice sent by certified or registered mail (as above) shall be

          received.
                                  ~                   -
          deemed given 4 davs after maihng. All other norices shall be deemed given when
                        ~                                                                               ~




 19.3     L..:sse~ shall promptly give Lessor a copy of a.riy norice of ;.my material notice of
          ar:l kind regarding the Premises or any taxes (including any bill or statement),
          and any notice nf nonrenev.aJ or threatened nonrene,x:al of any pem1its. licenses
          01 awhonwt10ns rh<:1t Lessee receives from any g0vemmenL utiiit;.· company.
          insuranz;c carrier. or insurance rating bureau.

 19.4    Lessor .shall promp•ly give Lessee a copy of any notice of ;my m:uenal notice of
         2..ny k111dregardjng lhe .?remises or any rn..\.es {including a.ny bill or statement),
         and 'Ul.Y notice of nonrenewai or frffcatcned nonrcncwai of any pennits. hcenses
         or o.:.Hhoriz!:i.t;ons that Lessor receives froa1 a.ny govemrrn.:nt, urilicy company,
         insu:-ance earner, or insurance rating bureau.

                                                   ARTICLE 20
                                                 GO"VERNING LA \V

20 .1    This Lease shall be governed by a.nd construed in accordance with rhc laws of the
         stat-~ ( \'/iihoul giving cd"cct to principles of conflicts of la'.VS) where the Premises
         rs !osa:·cd.

                                                   ARTICLE 2i
                                                  J1JRISDICTION

: l. l   L::s:::c<:: :J.~~-=es tha1 anv !c~~il proceedirn?: \Virh rc:.si..1cct .0 this Le<;.;:, ·~ rnav be brou!?:ht
                    -                 J   ._..                · -"     /.                          "'          -


         in .he couns of th(; SuI:.:: where tho.:; Premises is li.xat-ed a .. 1d accepts ihe jurisdiction
         of such co1.<ns '>Vith respect to any such legal procecdin& for Lcss;;e ;.md its
         -:.:ropcny.

                                                   .\.RTICLE 22
                                           CO~FIDENTLA.LITY

22 . l   In no cv.::nt sirnll cirher Lessor or Lessee issu·.~ ,my press n.:k;.1se. advcriisement or
         O'tlCr pubkity regarding chis Lease or the transac~10ns con[;.''11pb1ed hereby
         unless the c.chcr party has conse-1tcd chereto and to the fonn 2nd substance of any
         such stat-er,1cnt, an1ounccr,Jent or rekase; pm_yidc;d, however. that nothing herein
         shal I be deemed .u limit or i..11pair in any w;;1y an:-' pa.ny's ability to disclose the
         details of the transaction comemplarnd hereby as such party de~ms necessary
         pursuant to any court or govcrr.1.memal order or applicabk securities regulations or
         financial reporting requirements.



                                                       ...,
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                                     ARTICLE 23
                                MEMORANDUM OF LEASE

        Lessee, :u its sole cost at'1d expense, mJy record ~ rnemorandu.,'11 of Lliis Lease in
        forrn aud substance reasonably satisfactory to L.':ssor.

                                        ARTICLE 24
                                     QUIET ENJOYME:\1

24. l   Upon pciying the Fixed Rent and perfonning the tenns. covenants. concitions and
        pr0'1i:;1on::; of this Lease. Lessee rr:ay hwfully and quietly hold and enjoy the:
        Premises durmg th~ temi. subject, however, to the terms, co-..·c-nants, condi!ions.
        and p:·ovisions of this L~~t5c.

                                           ARTICLE25
                                  REAL F.STATE BROKERS

25.1    Lessee r~pT;:;:;;ents ::md v:2rr.:mts that Lessee has had uc o.ea!1ng:- wirh any real
        esrn.k broK..er, finder, or sale.:; agent, in con11ection with the negotiation and
        execution of :his Lease.

25.2    Lessor repn~sents and warrar.ts that Lessor has ha0 no dealings with a.'1y real
        estate broker, finder, or sales agent, in :::on.necrion \V1th the negotiJtion and
        execution of chis Lease.

25 3    Lessee agrc~s to indcn1n1fy Lessor, and hold L:.>ssor harmless from and against
        my corr:miss10n or foe claimed by any r""I cst2te broker c. fi::c ~r, with rcspc:i: t~)
        lhc neg0tiation or ·"'xecution of rlus Lea.sc whose cl:.um i::: bc.::.·.::d in whule or in part
        on J~alin::;s '>-viJ1 Lessee: l'r its cmpioy.. c Lessee's indcn.r1i'.~ ::;hnll ;::over. also,
                                                           j



        fe~s-;;.nd-costs whlch Lessor incurs to defend :.garnst any su(:h claim (which
        Lessee sh::.11 pay upon demand).

:25.4   Lessor agrees to mdemni6· L cssce, and hoid Lc:sscc h,:i.rmless from and against
        any cnnunission or foe cbim~d by any n::a! e.>tare brobr er finder. \.Vith r.:spe..:t to
        the negotiatwn or e;i.:ecurion of this lca...;;e whose ci;!im is based. in \Vhole or in part
        on deaiings with Lessor or its employees Less0r's inde:nnity shall cover. also.
        fees-and-costs '"h1cb Lesset: incurs to dcrenJ a~amst any such claim rwhich
        Lessor s.1all pay npon Jemantl).

        Ti:e provisions of this A.riick 15 :sha!! survive a It.>rmination of this L::a.sc.

                                          ARTICLE 26
                                 WAIVER OF JURY TR!AL

26. l   Lc.5.>,)r anJ Lessee waive trial by jury in ;.:.n; legal proceeding hrough~ by either
        :::gains~ the other with respect to any matter arising out of or 0rhcrwise re1?.ting to

                                                 .., .,
                                                 ).)
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             this L~a.se, the relations'iip of Lessor and Lessee, and Lessee· s use or occupanc;
             of the Premises.

                                  ARTICLE 27
                 ESTOPPEL. SCBORDINATION A.ND NON-DlSTURB.A.:'l'CE

,, 1
~.',         Esrnopcl. Each pany hereto shall. \Vit.hin iO days after request therefor by the
             other party, execut:;; and deliver an estOppc1 certificate in foml and substance
             reasonably acceptable to the requesting parry which certifies (a) that this Lease is
             in full force a.nd effect and is w1mod1.fied (or, if th:s L;;:ase has been modified,
             specif)'"ing such modifications), (b) the Commencement Dare. (c) (hat rem is paid
             curren.lv without any off-set or defense thcrero, (d) the amount of rent if any.
             paid in adv;:;....'1ce, (e) that there arc no uncured defaulcs by ~1ther parry {or. if there
             are- a.'1y such defaults, stating and describing the sarne-). :md (0 such other matters
             as the requesting pany n-~<iY reasonably require .

.:. l.".!.   Subordination. J\"on-Dbturbance and Aitornment Agrrcmi'.n_!:. This Lease and
             Lessee· s right, title u.nd i.merest under i..h1s Lease shall be. hll...I hac:by is, supcr~or
             to tht: lie« of a.i."1y :mortgage. deed of trnst or sccuriry interest wh1ch may ericumbcr
             d1e Premises or ar.y pare thereof in the future: r-rovided.. ho1Never, Lessee shall
             subordi0atc its righL title ai.-id i;:teresr tmder this Lease to any such future lien
             .rrovidcu the hold~r of such furnre Em executes 311d delivers. together with
             Lessee. " subordinarion, non-disturbance and attommcnr ;:grccmcn~ which is in
             forn: and substance r~asonahly satisfactory to Lessee ~md its cou.nsei.
             Ycit'·Xith,;tanding :mything to the contrary above, provided Lessee receives a
             s,1bordination and non-disturbance agreement wfijcb is reasonably satisfactory to
             !t, L~sse~ hereby agrees that this Lease is subordinate m tnc lien o [the mortgage
             hdd 1--y l.~ssor' s kndc~ n.s of the dat~ hereof Lessee shall enter imo a
             subordination ~md non-disturbance agreement »~:i.th Les::;(.r · s mortgagee. in fom1
             and st,;bstru1ce re:.i..Sonably satisfactory to Lessee.

:!7.3        Less'.)r~s Ri2:ht to Assi,gn. Lessee hcrehy expressly ~grces that Lessor may
             pledge its rights under this Lease and a.ssign a.ny payr:1em.s due to Lessor
             herem;.der for the benei!t of <my iender or otner parry !~1 connection wirh a
             (inancing or secu.ritization transaction.

                                             A.RTlCLE 28
                                          i\HSCELLANF.Ot:s

28.1         This LeJ.se shall be construed without regard to auy presumption requiring
                            ·- Ihe oanv
             L011sm.1ct1on a~air:st  .   ,,
                                            drallim:...... trns Le~'.se. The ca.otions
                                                                               .       of !his insm1ment
             are for convenience and do not define or 111nit the provisions of this Leas;;.

28.2         The terms, covenants, conditions, and pro\ isions of this Lease shall bind and
             inure to the benefit of Les~or H.J."Jd Lessee and, their respective ieg:tl
             representmives, successors, and assigns; provided r:one of ,h.:- benefits inuring to

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         Lessee hereunda shall inure to the benefit of Less~c ·s assign unless such assign is
         p;:rmittcd hc:rew.der or is approved by Lessor.

2S . 3   Except a.s prov!d.::d in the Side Letter. dated a;, of the Jak hereof, by and berv.:een
         L cssor and Lessee, rhis Lease contains the entire agreement of the parties v.:ith
         respect t0 the subject matter hereof and supersedes all prior undcrsranaings or
         2.::,-reemen•s cf the P:mies relating to such subj,:ct matter.

28.4     This Lease may be cxci:ttt~d (a) in ~ounterparts, a c0mpkt.e set of •vh1ch together
         shall constitute ai1 original and (b) in duplicates, c::-,ch t?hvhicl1 shall constitute an
            -
         cnginal. Cornes
                       '
         wh~tkr pco,iuccd bv
                             oC this Lease showin~      ...._
                                                              lhc signatur::s of the r.::;;pective parties.
                                                                       -
                               . pho~om-aohic.
                                        .....   '  d1£.itaL
                                                     ._
                                                                com:>uter.
                                                                     ...    i)f othc'.r r"~!)roducticm, mav
                                                                                                          ...
         he used for all puiuo;;es
                             '      as 01icin2.ls.
                                              ~


28 5     i'\cither rhis ~.ease nor any of the ierrr1s hcrco f may be tcr.ninatcd. amended or
         waived ora1ty. bm orily hy an instrument in \'-Titing signed b:· t.he pan; agams~
         \'.'hi ch enforcen:em of the tennination. amendment or \';aivcr is sought.



2S . 7   The L:·sscc sha!) ;\:1r:1burse t1ie Lessor for all t..:~so11abk :<ttorneys foes a;1d
         ck;bui·scmems th".! Lessor incu.rs as a result of {1) :rny of the folknvi.!1g, unkss the
         Lessee prevai!s in subsram:ally all rcsp.:cts: (a) my litig;_u;on or u1spute l"etwi;:.en
         !he ;'._~ssor and the Lesse~; (b) '.iJ\Y c1aim that either p;iny nakfs :Jgainst the other
         ::-:..~ising from this Lease c·:: th:: p:.L'lics· Lessor-Lessee rdaI .011shi;::i· (c) an:' Default;
         or ~ .:..) the Less0r ·;:; eilfr'\f.::10::; a.r:~ · remcJies against th~ Lc.ss~e: (-2) :u1;. ban.k..rt!prcy
         or ins,1 1ve:11::y 1.1.fiecting we L~ssc:e: L3) the Lessors rc\·iewing, .:ons1dering, a.nJ
         processing a.ny request th~t the Lc~scc makes rdating to this Lease or the
         Building, whether or nol the Lessor 2grccs or consents w it: and ( 4) any
         tl:;::;ignrn~r:t o• other ml11sfer.

2S.8     If th~ Lessor conmences an_,,. proceeding for nonpayment of Fixed Rem,
         additional rcrn 01 liotding Qver, or a..."'1y other summary ;:>rocecding relating to th1s
         Le:Ge, Less~e sh.ilt im,;11111se c1'..1 counterclaim of ;:rny nature in sucn proceedings.
         ever: if such ·::.:mntcrc!~im reL::ues t•J th~ Lessor's alleged fo.ilmc io provide
         scrYice:; to the L;:ssee or alkged i rnpnirmem of the Les.:i~~c- ·s right to possess. us~,
         o< enjoy the Building, unless fo.ilure to ;is~;cn such coumerclaim would oe a
         \\':li \er )J.- s~·ch c0.m(erc him. unless the Lessor ugrt:.:s [;1 \\T.iting to waive such
         n:-:.1uir<:ci11.;11L The Less2c may a<;.sert ary Sl':n clain in a scparJ.te action The
         Lessee ad;:no,vl:;dges .tk; right s:i\C~::> th>? L.:ssce ..rn adeql!alc rem..:dy. The
         Lessee · s obligation to p.:y rix;:d Rer.t and rid-::n1onnl rent is an independent <md
         absolu~ obligari1.m undc:r this Lease.


'.28.9   \\hethc.r or noc a Default has occurred . Lessor may obt~in a court order enjoining
         Lessee from cominumg an; Default or from committing any threatened Default.


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         Lessee spel.:ifically and expressly acknowledges that damages \Vould not
         consmute x1 adequate re!l1cdy for any non-monet:.u-:-. Default.

:28. l 0 :f 2J1y tern. or proviswn oi this L.::ase o: its :.;pp!it:~tieiD to any pa.rt:-; or
         circun~stanCt,; ~hall to ~1y extent be inY;:ilid or W1enforceabic, tlaen the remainder
         \)f this Lease, or the ;..µplication of such tenn or pny,·ision to p~rsons or

         circun:sta..'1.:es except these as ro which ii is inv:iFci or Ui1enfor. .·~.1ole. shall not be
         ~!ffec:ed by su.;h im·,1iid1!:-· All remaining; prov1si1)ns of this Le:tSc shall b-: valid
         •.rnd b,! enforced to the fo llest extent lav,.: allows

~8 t l   [ essee sha!J n0t suffe~ or permit any \Vindow::; in the P-~!:1ises to be cleaned from
         tne om5idc 111 \ io!aticn of app!icahk laws.

21'. l 2 L..:::-:.s~,_. ackn,)wkdgcs th<'.t this l .case is 11ot entered into for personal. fo.miiy 01
         househuld pu.1Joses. ·111ereforc. any srnrnte whose effrc;: is limited to lr<msact ions
         entered in~o for rerson2L family ~lr household purposes h!S no app!i~auon to this
         l ~--'t:.

2S 13 iI:tcn<:onally Dckctd.

:2S. ! + Intcational!y Deleted.




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         IN wr~'LSS WHEREOF, Lessor and Lessee hetve executed this Lease as of the
date lirst ~ho\ e \\"Iitten.

                                  LESSOR:


                                  RED SAIL REAL E:STA TE LOS .ANGFl_ES INC.




                                  Rv:




                                  LESSEE:


                                  PRADA USA CORP.




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                                   E'\:hibit A

                               Legal De~criplion

LOTS.+'.."! N~:! .u OF TR.\CT .+391. lN THE C1TY OF LOS AJ\GEl ES. COL:-. TY OF
lOS .'\.NGELES. STATE OF CALIFORi~Ll\, AS PER i\1.'\P REC'OR.8ED 11\" BOOh 52
P·\GI: 57 0F MA.PS. IN THE OFF!l~E OF THE COC~TY RECORI)ER OF SA1D
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                                                                                           Schedule 1

                                                                         Pre-Approved Modifications
                                                                            8025 Melrose Av.mue

                       1.          lvklros~ ShowToom Upgrade
                                   ~ . 2 li'!.::eks Covt:rage To Be Determined
                                   l:. \Vork Cum;ntly Scbedukd For June -July 2004

                       ..,         Schcculcd maintemnce sch~dule - 4 hoi::-s frorr: 7:00p!"!1 t(• • l :OOpm (Tr:ldes:
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              schedule could ch2nge.
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                     Schedule 2

                Permitted Occupants




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